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               (Slip Opinion)              OCTOBER TERM, 2012                                       1

                                                      Syllabus

                        NOTE: Where it is feasible, a syllabus (headnote) will be released, as is
                      being done in connection with this case, at the time the opinion is issued.
                      The syllabus constitutes no part of the opinion of the Court but has been
                      prepared by the Reporter of Decisions for the convenience of the reader.
                      See United States v. Detroit Timber & Lumber Co., 200 U. S. 321, 337.


               SUPREME COURT OF THE UNITED STATES

                                                      Syllabus

               SHELBY COUNTY, ALABAMA v. HOLDER, ATTORNEY
                             GENERAL, ET AL.

               CERTIORARI TO THE UNITED STATES COURT OF APPEALS FOR
                         THE DISTRICT OF COLUMBIA CIRCUIT

                    No. 12–96. Argued February 27, 2013—Decided June 25, 2013
               The Voting Rights Act of 1965 was enacted to address entrenched racial
                 discrimination in voting, “an insidious and pervasive evil which had
                 been perpetuated in certain parts of our country through unremitting
                 and ingenious defiance of the Constitution.” South Carolina v. Kat-
                 zenbach, 383 U. S. 301, 309. Section 2 of the Act, which bans any
                 “standard, practice, or procedure” that “results in a denial or
                 abridgement of the right of any citizen . . . to vote on account of race
                 or color,” 42 U. S. C. §1973(a), applies nationwide, is permanent, and
                 is not at issue in this case. Other sections apply only to some parts of
                 the country. Section 4 of the Act provides the “coverage formula,” de-
                 fining the “covered jurisdictions” as States or political subdivisions
                 that maintained tests or devices as prerequisites to voting, and had
                 low voter registration or turnout, in the 1960s and early 1970s.
                 §1973b(b). In those covered jurisdictions, §5 of the Act provides that
                 no change in voting procedures can take effect until approved by
                 specified federal authorities in Washington, D. C. §1973c(a). Such
                 approval is known as “preclearance.”
                    The coverage formula and preclearance requirement were initially
                 set to expire after five years, but the Act has been reauthorized sev-
                 eral times. In 2006, the Act was reauthorized for an additional 25
                 years, but the coverage formula was not changed. Coverage still
                 turned on whether a jurisdiction had a voting test in the 1960s or
                 1970s, and had low voter registration or turnout at that time. Short-
                 ly after the 2006 reauthorization, a Texas utility district sought to
                 bail out from the Act’s coverage and, in the alternative, challenged
                 the Act’s constitutionality. This Court resolved the challenge on
                 statutory grounds, but expressed serious doubts about the Act’s con-
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                   tinued constitutionality. See Northwest Austin Municipal Util. Dist.
                   No. One v. Holder, 557 U. S. 193.
                     Petitioner Shelby County, in the covered jurisdiction of Alabama,
                   sued the Attorney General in Federal District Court in Washington,
                   D. C., seeking a declaratory judgment that sections 4(b) and 5 are fa-
                   cially unconstitutional, as well as a permanent injunction against
                   their enforcement. The District Court upheld the Act, finding that
                   the evidence before Congress in 2006 was sufficient to justify reau-
                   thorizing §5 and continuing §4(b)’s coverage formula. The D. C. Cir-
                   cuit affirmed. After surveying the evidence in the record, that court
                   accepted Congress’s conclusion that §2 litigation remained inade-
                   quate in the covered jurisdictions to protect the rights of minority
                   voters, that §5 was therefore still necessary, and that the coverage
                   formula continued to pass constitutional muster.
               Held: Section 4 of the Voting Rights Act is unconstitutional; its formula
                can no longer be used as a basis for subjecting jurisdictions to pre-
                clearance. Pp. 9–25.
                   (a) In Northwest Austin, this Court noted that the Voting Rights
                Act “imposes current burdens and must be justified by current needs”
                and concluded that “a departure from the fundamental principle of
                equal sovereignty requires a showing that a statute’s disparate geo-
                graphic coverage is sufficiently related to the problem that it targets.”
                557 U. S., at 203. These basic principles guide review of the question
                presented here. Pp. 9–17.
                     (1) State legislation may not contravene federal law. States re-
                tain broad autonomy, however, in structuring their governments and
                pursuing legislative objectives. Indeed, the Tenth Amendment re-
                serves to the States all powers not specifically granted to the Federal
                Government, including “the power to regulate elections.” Gregory v.
                Ashcroft, 501 U. S. 452, 461–462. There is also a “fundamental prin-
                ciple of equal sovereignty” among the States, which is highly perti-
                nent in assessing disparate treatment of States. Northwest Austin,
                supra, at 203.
                   The Voting Rights Act sharply departs from these basic principles.
                It requires States to beseech the Federal Government for permission
                to implement laws that they would otherwise have the right to enact
                and execute on their own. And despite the tradition of equal sover-
                eignty, the Act applies to only nine States (and additional counties).
                That is why, in 1966, this Court described the Act as “stringent” and
                “potent,” Katzenbach, 383 U. S., at 308, 315, 337. The Court nonethe-
                less upheld the Act, concluding that such an “uncommon exercise of
                congressional power” could be justified by “exceptional conditions.”
                Id., at 334. Pp. 9–12.
                     (2) In 1966, these departures were justified by the “blight of ra-
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                cial discrimination in voting” that had “infected the electoral process
                in parts of our country for nearly a century,” Katzenbach, 383 U. S.,
                at 308. At the time, the coverage formula—the means of linking the
                exercise of the unprecedented authority with the problem that war-
                ranted it—made sense. The Act was limited to areas where Congress
                found “evidence of actual voting discrimination,” and the covered ju-
                risdictions shared two characteristics: “the use of tests and devices
                for voter registration, and a voting rate in the 1964 presidential elec-
                tion at least 12 points below the national average.” Id., at 330. The
                Court explained that “[t]ests and devices are relevant to voting dis-
                crimination because of their long history as a tool for perpetrating
                the evil; a low voting rate is pertinent for the obvious reason that
                widespread disenfranchisement must inevitably affect the number of
                actual voters.” Ibid. The Court therefore concluded that “the cover-
                age formula [was] rational in both practice and theory.” Ibid.
                Pp. 12–13.
                     (3) Nearly 50 years later, things have changed dramatically.
                Largely because of the Voting Rights Act, “[v]oter turnout and regis-
                tration rates” in covered jurisdictions “now approach parity. Blatant-
                ly discriminatory evasions of federal decrees are rare. And minority
                candidates hold office at unprecedented levels.” Northwest Austin,
                supra, at 202. The tests and devices that blocked ballot access have
                been forbidden nationwide for over 40 years. Yet the Act has not
                eased §5’s restrictions or narrowed the scope of §4’s coverage formula
                along the way. Instead those extraordinary and unprecedented fea-
                tures have been reauthorized as if nothing has changed, and they
                have grown even stronger. Because §5 applies only to those jurisdic-
                tions singled out by §4, the Court turns to consider that provision.
                Pp. 13–17.
                   (b) Section 4’s formula is unconstitutional in light of current condi-
                tions. Pp. 17–25.
                     (1) In 1966, the coverage formula was “rational in both practice
                and theory.” Katzenbach, supra, at 330. It looked to cause (discrimi-
                natory tests) and effect (low voter registration and turnout), and tai-
                lored the remedy (preclearance) to those jurisdictions exhibiting both.
                By 2009, however, the “coverage formula raise[d] serious constitu-
                tional questions.” Northwest Austin, supra, at 204. Coverage today
                is based on decades-old data and eradicated practices. The formula
                captures States by reference to literacy tests and low voter registra-
                tion and turnout in the 1960s and early 1970s. But such tests have
                been banned for over 40 years. And voter registration and turnout
                numbers in covered States have risen dramatically. In 1965, the
                States could be divided into those with a recent history of voting tests
                and low voter registration and turnout and those without those char-
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                   acteristics. Congress based its coverage formula on that distinction.
                   Today the Nation is no longer divided along those lines, yet the Vot-
                   ing Rights Act continues to treat it as if it were. Pp. 17–18.
                        (2) The Government attempts to defend the formula on grounds
                   that it is “reverse-engineered”—Congress identified the jurisdictions
                   to be covered and then came up with criteria to describe them. Kat-
                   zenbach did not sanction such an approach, reasoning instead that
                   the coverage formula was rational because the “formula . . . was rele-
                   vant to the problem.” 383 U. S., at 329, 330. The Government has a
                   fallback argument—because the formula was relevant in 1965, its
                   continued use is permissible so long as any discrimination remains in
                   the States identified in 1965. But this does not look to “current polit-
                   ical conditions,” Northwest Austin, supra, at 203, instead relying on a
                   comparison between the States in 1965. But history did not end in
                   1965. In assessing the “current need[ ]” for a preclearance system
                   treating States differently from one another today, history since 1965
                   cannot be ignored. The Fifteenth Amendment is not designed to pun-
                   ish for the past; its purpose is to ensure a better future. To serve
                   that purpose, Congress—if it is to divide the States—must identify
                   those jurisdictions to be singled out on a basis that makes sense in
                   light of current conditions. Pp. 18–21.
                        (3) Respondents also rely heavily on data from the record com-
                   piled by Congress before reauthorizing the Act. Regardless of how
                   one looks at that record, no one can fairly say that it shows anything
                   approaching the “pervasive,” “flagrant,” “widespread,” and “rampant”
                   discrimination that clearly distinguished the covered jurisdictions
                   from the rest of the Nation in 1965. Katzenbach, supra, at 308, 315,
                   331. But a more fundamental problem remains: Congress did not use
                   that record to fashion a coverage formula grounded in current condi-
                   tions. It instead re-enacted a formula based on 40-year-old facts hav-
                   ing no logical relation to the present day. Pp. 21–22.
               679 F. 3d 848, reversed.

                 ROBERTS, C. J., delivered the opinion of the Court, in which SCALIA,
               KENNEDY, THOMAS, and ALITO, JJ., joined. THOMAS, J., filed a concur-
               ring opinion. GINSBURG, J., filed a dissenting opinion, in which BREYER,
               SOTOMAYOR, and KAGAN, JJ., joined.
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                                           Opinion of the Court

                   NOTICE: This opinion is subject to formal revision before publication in the
                   preliminary print of the United States Reports. Readers are requested to
                   notify the Reporter of Decisions, Supreme Court of the United States, Wash-
                   ington, D. C. 20543, of any typographical or other formal errors, in order
                   that corrections may be made before the preliminary print goes to press.


               SUPREME COURT OF THE UNITED STATES
                                                 _________________

                                                  No. 12–96
                                                 _________________


                SHELBY COUNTY, ALABAMA, PETITIONER v. ERIC
                  H. HOLDER, JR., ATTORNEY GENERAL, ET AL.
                ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
                   APPEALS FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                               [June 25, 2013]

                 CHIEF JUSTICE ROBERTS delivered the opinion of the
               Court.
                 The Voting Rights Act of 1965 employed extraordinary
               measures to address an extraordinary problem. Section 5
               of the Act required States to obtain federal permission
               before enacting any law related to voting—a drastic depar-
               ture from basic principles of federalism. And §4 of the Act
               applied that requirement only to some States—an equally
               dramatic departure from the principle that all States
               enjoy equal sovereignty. This was strong medicine, but
               Congress determined it was needed to address entrenched
               racial discrimination in voting, “an insidious and perva-
               sive evil which had been perpetuated in certain parts of
               our country through unremitting and ingenious defiance
               of the Constitution.” South Carolina v. Katzenbach,
               383 U. S. 301, 309 (1966). As we explained in upholding
               the law, “exceptional conditions can justify legislative
               measures not otherwise appropriate.” Id., at 334. Reflect-
               ing the unprecedented nature of these measures, they
               were scheduled to expire after five years. See Voting
               Rights Act of 1965, §4(a), 79 Stat. 438.
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                 Nearly 50 years later, they are still in effect; indeed,
               they have been made more stringent, and are now sched-
               uled to last until 2031. There is no denying, however, that
               the conditions that originally justified these measures no
               longer characterize voting in the covered jurisdictions. By
               2009, “the racial gap in voter registration and turnout
               [was] lower in the States originally covered by §5 than it
               [was] nationwide.” Northwest Austin Municipal Util. Dist.
               No. One v. Holder, 557 U. S. 193, 203–204 (2009). Since
               that time, Census Bureau data indicate that African-
               American voter turnout has come to exceed white voter
               turnout in five of the six States originally covered by §5,
               with a gap in the sixth State of less than one half of one
               percent. See Dept. of Commerce, Census Bureau, Re-
               ported Voting and Registration, by Sex, Race and His-
               panic Origin, for States (Nov. 2012) (Table 4b).
                 At the same time, voting discrimination still exists; no
               one doubts that. The question is whether the Act’s ex-
               traordinary measures, including its disparate treatment of
               the States, continue to satisfy constitutional requirements.
               As we put it a short time ago, “the Act imposes current
               burdens and must be justified by current needs.” North-
               west Austin, 557 U. S., at 203.
                                            I
                                            A
                  The Fifteenth Amendment was ratified in 1870, in the
               wake of the Civil War. It provides that “[t]he right of
               citizens of the United States to vote shall not be denied or
               abridged by the United States or by any State on account
               of race, color, or previous condition of servitude,” and it
               gives Congress the “power to enforce this article by appro-
               priate legislation.”
                  “The first century of congressional enforcement of the
               Amendment, however, can only be regarded as a failure.”
               Id., at 197. In the 1890s, Alabama, Georgia, Louisiana,
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               Mississippi, North Carolina, South Carolina, and Virginia
               began to enact literacy tests for voter registration and
               to employ other methods designed to prevent African-
               Americans from voting. Katzenbach, 383 U. S., at 310.
               Congress passed statutes outlawing some of these practices
               and facilitating litigation against them, but litigation
               remained slow and expensive, and the States came up with
               new ways to discriminate as soon as existing ones were
               struck down. Voter registration of African-Americans
               barely improved. Id., at 313–314.
                   Inspired to action by the civil rights movement, Con-
               gress responded in 1965 with the Voting Rights Act.
               Section 2 was enacted to forbid, in all 50 States, any
               “standard, practice, or procedure . . . imposed or applied
               . . . to deny or abridge the right of any citizen of the United
               States to vote on account of race or color.” 79 Stat. 437.
               The current version forbids any “standard, practice, or
               procedure” that “results in a denial or abridgement of the
               right of any citizen of the United States to vote on account
               of race or color.” 42 U. S. C. §1973(a). Both the Federal
               Government and individuals have sued to enforce §2, see,
               e.g., Johnson v. De Grandy, 512 U. S. 997 (1994), and
               injunctive relief is available in appropriate cases to block
               voting laws from going into effect, see 42 U. S. C.
               §1973j(d). Section 2 is permanent, applies nationwide,
               and is not at issue in this case.
                   Other sections targeted only some parts of the country.
               At the time of the Act’s passage, these “covered” jurisdic-
               tions were those States or political subdivisions that had
               maintained a test or device as a prerequisite to voting as
               of November 1, 1964, and had less than 50 percent voter
               registration or turnout in the 1964 Presidential election.
               §4(b), 79 Stat. 438. Such tests or devices included literacy
               and knowledge tests, good moral character requirements,
               the need for vouchers from registered voters, and the like.
               §4(c), id., at 438–439. A covered jurisdiction could “bail
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               out” of coverage if it had not used a test or device in the
               preceding five years “for the purpose or with the effect of
               denying or abridging the right to vote on account of race or
               color.” §4(a), id., at 438. In 1965, the covered States
               included Alabama, Georgia, Louisiana, Mississippi, South
               Carolina, and Virginia. The additional covered subdivi-
               sions included 39 counties in North Carolina and one in
               Arizona. See 28 CFR pt. 51, App. (2012).
                 In those jurisdictions, §4 of the Act banned all such tests
               or devices. §4(a), 79 Stat. 438. Section 5 provided that no
               change in voting procedures could take effect until it was
               approved by federal authorities in Washington, D. C.—
               either the Attorney General or a court of three judges. Id.,
               at 439. A jurisdiction could obtain such “preclearance”
               only by proving that the change had neither “the purpose
               [nor] the effect of denying or abridging the right to vote on
               account of race or color.” Ibid.
                 Sections 4 and 5 were intended to be temporary; they
               were set to expire after five years. See §4(a), id., at 438;
               Northwest Austin, supra, at 199. In South Carolina v.
               Katzenbach, we upheld the 1965 Act against constitutional
               challenge, explaining that it was justified to address “vot-
               ing discrimination where it persists on a pervasive scale.”
               383 U. S., at 308.
                 In 1970, Congress reauthorized the Act for another five
               years, and extended the coverage formula in §4(b) to juris-
               dictions that had a voting test and less than 50 percent
               voter registration or turnout as of 1968. Voting Rights Act
               Amendments of 1970, §§3–4, 84 Stat. 315. That swept in
               several counties in California, New Hampshire, and New
               York. See 28 CFR pt. 51, App. Congress also extended
               the ban in §4(a) on tests and devices nationwide. §6, 84
               Stat. 315.
                 In 1975, Congress reauthorized the Act for seven more
               years, and extended its coverage to jurisdictions that had
               a voting test and less than 50 percent voter registration or
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               turnout as of 1972. Voting Rights Act Amendments of
               1975, §§101, 202, 89 Stat. 400, 401. Congress also amend-
               ed the definition of “test or device” to include the practice
               of providing English-only voting materials in places where
               over five percent of voting-age citizens spoke a single
               language other than English. §203, id., at 401–402. As a
               result of these amendments, the States of Alaska, Arizona,
               and Texas, as well as several counties in California, Flor-
               ida, Michigan, New York, North Carolina, and South Da-
               kota, became covered jurisdictions. See 28 CFR pt. 51, App.
               Congress correspondingly amended sections 2 and 5 to
               forbid voting discrimination on the basis of membership in
               a language minority group, in addition to discrimination
               on the basis of race or color. §§203, 206, 89 Stat. 401, 402.
               Finally, Congress made the nationwide ban on tests and
               devices permanent. §102, id., at 400.
                  In 1982, Congress reauthorized the Act for 25 years, but
               did not alter its coverage formula. See Voting Rights Act
               Amendments, 96 Stat. 131. Congress did, however, amend
               the bailout provisions, allowing political subdivisions of
               covered jurisdictions to bail out. Among other prerequi-
               sites for bailout, jurisdictions and their subdivisions must
               not have used a forbidden test or device, failed to receive
               preclearance, or lost a §2 suit, in the ten years prior to
               seeking bailout. §2, id., at 131–133.
                  We upheld each of these reauthorizations against con-
               stitutional challenge. See Georgia v. United States, 411
               U. S. 526 (1973); City of Rome v. United States, 446 U. S.
               156 (1980); Lopez v. Monterey County, 525 U. S. 266
               (1999).
                  In 2006, Congress again reauthorized the Voting Rights
               Act for 25 years, again without change to its coverage
               formula. Fannie Lou Hamer, Rosa Parks, and Coretta
               Scott King Voting Rights Act Reauthorization and Amend-
               ments Act, 120 Stat. 577. Congress also amended §5 to
               prohibit more conduct than before. §5, id., at 580–
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               581; see Reno v. Bossier Parish School Bd., 528 U. S. 320,
               341 (2000) (Bossier II); Georgia v. Ashcroft, 539 U. S. 461,
               479 (2003). Section 5 now forbids voting changes with
               “any discriminatory purpose” as well as voting changes
               that diminish the ability of citizens, on account of race,
               color, or language minority status, “to elect their preferred
               candidates of choice.” 42 U. S. C. §§1973c(b)–(d).
                  Shortly after this reauthorization, a Texas utility district
               brought suit, seeking to bail out from the Act’s cover-
               age and, in the alternative, challenging the Act’s constitu-
               tionality. See Northwest Austin, 557 U. S., at 200–201. A
               three-judge District Court explained that only a State or
               political subdivision was eligible to seek bailout under the
               statute, and concluded that the utility district was not a
               political subdivision, a term that encompassed only “coun-
               ties, parishes, and voter-registering subunits.” Northwest
               Austin Municipal Util. Dist. No. One v. Mukasey, 573
               F. Supp. 2d 221, 232 (DC 2008). The District Court also
               rejected the constitutional challenge. Id., at 283.
                  We reversed. We explained that “ ‘normally the Court
               will not decide a constitutional question if there is some
               other ground upon which to dispose of the case.’ ” North-
               west Austin, supra, at 205 (quoting Escambia County v.
               McMillan, 466 U. S. 48, 51 (1984) (per curiam)). Conclud-
               ing that “underlying constitutional concerns,” among other
               things, “compel[led] a broader reading of the bailout provi-
               sion,” we construed the statute to allow the utility district
               to seek bailout. Northwest Austin, 557 U. S., at 207. In
               doing so we expressed serious doubts about the Act’s con-
               tinued constitutionality.
                  We explained that §5 “imposes substantial federalism
               costs” and “differentiates between the States, despite our his-
               toric tradition that all the States enjoy equal sovereignty.”
               Id., at 202, 203 (internal quotation marks omitted).
               We also noted that “[t]hings have changed in the South.
               Voter turnout and registration rates now approach parity.
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               Blatantly discriminatory evasions of federal decrees are
               rare. And minority candidates hold office at unprece-
               dented levels.” Id., at 202. Finally, we questioned whether
               the problems that §5 meant to address were still “concen-
               trated in the jurisdictions singled out for preclearance.”
               Id., at 203.
                  Eight Members of the Court subscribed to these views,
               and the remaining Member would have held the Act un-
               constitutional. Ultimately, however, the Court’s construc-
               tion of the bailout provision left the constitutional issues
               for another day.
                                             B
                  Shelby County is located in Alabama, a covered jurisdic-
               tion. It has not sought bailout, as the Attorney General
               has recently objected to voting changes proposed from
               within the county. See App. 87a–92a. Instead, in 2010,
               the county sued the Attorney General in Federal District
               Court in Washington, D. C., seeking a declaratory judg-
               ment that sections 4(b) and 5 of the Voting Rights Act are
               facially unconstitutional, as well as a permanent injunc-
               tion against their enforcement. The District Court ruled
               against the county and upheld the Act. 811 F. Supp. 2d
               424, 508 (2011). The court found that the evidence before
               Congress in 2006 was sufficient to justify reauthorizing §5
               and continuing the §4(b) coverage formula.
                  The Court of Appeals for the D. C. Circuit affirmed. In
               assessing §5, the D. C. Circuit considered six primary
               categories of evidence: Attorney General objections to
               voting changes, Attorney General requests for more in-
               formation regarding voting changes, successful §2 suits in
               covered jurisdictions, the dispatching of federal observers
               to monitor elections in covered jurisdictions, §5 preclear-
               ance suits involving covered jurisdictions, and the deter-
               rent effect of §5. See 679 F. 3d 848, 862–863 (2012). After
               extensive analysis of the record, the court accepted Con-
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               gress’s conclusion that §2 litigation remained inadequate
               in the covered jurisdictions to protect the rights of minori-
               ty voters, and that §5 was therefore still necessary. Id.,
               at 873.
                  Turning to §4, the D. C. Circuit noted that the evidence
               for singling out the covered jurisdictions was “less robust”
               and that the issue presented “a close question.” Id., at
               879. But the court looked to data comparing the number
               of successful §2 suits in the different parts of the country.
               Coupling that evidence with the deterrent effect of §5, the
               court concluded that the statute continued “to single out
               the jurisdictions in which discrimination is concentrated,”
               and thus held that the coverage formula passed constitu-
               tional muster. Id., at 883.
                  Judge Williams dissented. He found “no positive cor-
               relation between inclusion in §4(b)’s coverage formula and
               low black registration or turnout.” Id., at 891. Rather,
               to the extent there was any correlation, it actually went
               the other way: “condemnation under §4(b) is a marker of
               higher black registration and turnout.” Ibid. (emphasis
               added). Judge Williams also found that “[c]overed juris-
               dictions have far more black officeholders as a proportion
               of the black population than do uncovered ones.” Id., at
               892. As to the evidence of successful §2 suits, Judge Wil-
               liams disaggregated the reported cases by State, and
               concluded that “[t]he five worst uncovered jurisdictions . . .
               have worse records than eight of the covered jurisdic-
               tions.” Id., at 897. He also noted that two covered juris-
               dictions—Arizona and Alaska—had not had any successful
               reported §2 suit brought against them during the entire 24
               years covered by the data. Ibid. Judge Williams would
               have held the coverage formula of §4(b) “irrational” and
               unconstitutional. Id., at 885.
                  We granted certiorari. 568 U. S. ___ (2012).
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                                           II
                 In Northwest Austin, we stated that “the Act imposes
               current burdens and must be justified by current needs.”
               557 U. S., at 203. And we concluded that “a departure
               from the fundamental principle of equal sovereignty re-
               quires a showing that a statute’s disparate geographic
               coverage is sufficiently related to the problem that it
               targets.” Ibid. These basic principles guide our review of
               the question before us.1
                                              A
                  The Constitution and laws of the United States are “the
               supreme Law of the Land.” U. S. Const., Art. VI, cl. 2.
               State legislation may not contravene federal law. The
               Federal Government does not, however, have a general
               right to review and veto state enactments before they go
               into effect. A proposal to grant such authority to “nega-
               tive” state laws was considered at the Constitutional
               Convention, but rejected in favor of allowing state laws to
               take effect, subject to later challenge under the Supremacy
               Clause. See 1 Records of the Federal Convention of 1787,
               pp. 21, 164–168 (M. Farrand ed. 1911); 2 id., at 27–29,
               390–392.
                  Outside the strictures of the Supremacy Clause, States
               retain broad autonomy in structuring their governments
               and pursuing legislative objectives. Indeed, the Constitu-
               tion provides that all powers not specifically granted to the
               Federal Government are reserved to the States or citizens.
               Amdt. 10. This “allocation of powers in our federal system
               preserves the integrity, dignity, and residual sovereignty
               of the States.” Bond v. United States, 564 U. S. ___, ___
               ——————
                 1 Both the Fourteenth and Fifteenth Amendments were at issue in

               Northwest Austin, see Juris. Statement i, and Brief for Federal Appel-
               lee 29–30, in Northwest Austin Municipal Util. Dist. No. One v. Holder,
               O. T. 2008, No. 08–322, and accordingly Northwest Austin guides our
               review under both Amendments in this case.
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               (2011) (slip op., at 9). But the federal balance “is not just
               an end in itself: Rather, federalism secures to citizens the
               liberties that derive from the diffusion of sovereign power.”
               Ibid. (internal quotation marks omitted).
                  More specifically, “ ‘the Framers of the Constitution
               intended the States to keep for themselves, as provided in
               the Tenth Amendment, the power to regulate elections.’ ”
               Gregory v. Ashcroft, 501 U. S. 452, 461–462 (1991) (quot-
               ing Sugarman v. Dougall, 413 U. S. 634, 647 (1973); some
               internal quotation marks omitted). Of course, the Federal
               Government retains significant control over federal elec-
               tions. For instance, the Constitution authorizes Congress
               to establish the time and manner for electing Senators and
               Representatives. Art. I, §4, cl. 1; see also Arizona v. Inter
               Tribal Council of Ariz., Inc., ante, at 4–6. But States have
               “broad powers to determine the conditions under which
               the right of suffrage may be exercised.” Carrington v.
               Rash, 380 U. S. 89, 91 (1965) (internal quotation marks
               omitted); see also Arizona, ante, at 13–15. And “[e]ach
               State has the power to prescribe the qualifications of its
               officers and the manner in which they shall be chosen.”
               Boyd v. Nebraska ex rel. Thayer, 143 U. S. 135, 161 (1892).
               Drawing lines for congressional districts is likewise “pri-
               marily the duty and responsibility of the State.” Perry v.
               Perez, 565 U. S. ___, ___ (2012) (per curiam) (slip op., at 3)
               (internal quotation marks omitted).
                  Not only do States retain sovereignty under the Consti-
               tution, there is also a “fundamental principle of equal
               sovereignty” among the States. Northwest Austin, supra,
               at 203 (citing United States v. Louisiana, 363 U. S. 1, 16
               (1960); Lessee of Pollard v. Hagan, 3 How. 212, 223 (1845);
               and Texas v. White, 7 Wall. 700, 725–726 (1869); emphasis
               added). Over a hundred years ago, this Court explained
               that our Nation “was and is a union of States, equal in
               power, dignity and authority.” Coyle v. Smith, 221 U. S.
               559, 567 (1911). Indeed, “the constitutional equality of the
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               States is essential to the harmonious operation of the
               scheme upon which the Republic was organized.” Id., at
               580. Coyle concerned the admission of new States, and
               Katzenbach rejected the notion that the principle operated
               as a bar on differential treatment outside that context.
               383 U. S., at 328–329. At the same time, as we made clear
               in Northwest Austin, the fundamental principle of equal
               sovereignty remains highly pertinent in assessing subse-
               quent disparate treatment of States. 557 U. S., at 203.
                  The Voting Rights Act sharply departs from these basic
               principles. It suspends “all changes to state election law—
               however innocuous—until they have been precleared
               by federal authorities in Washington, D. C.” Id., at 202.
               States must beseech the Federal Government for permis-
               sion to implement laws that they would otherwise have
               the right to enact and execute on their own, subject of
               course to any injunction in a §2 action. The Attorney
               General has 60 days to object to a preclearance request,
               longer if he requests more information. See 28 CFR
               §§51.9, 51.37. If a State seeks preclearance from a three-
               judge court, the process can take years.
                  And despite the tradition of equal sovereignty, the Act
               applies to only nine States (and several additional coun-
               ties). While one State waits months or years and expends
               funds to implement a validly enacted law, its neighbor
               can typically put the same law into effect immediately,
               through the normal legislative process. Even if a noncov-
               ered jurisdiction is sued, there are important differences
               between those proceedings and preclearance proceedings;
               the preclearance proceeding “not only switches the burden
               of proof to the supplicant jurisdiction, but also applies
               substantive standards quite different from those govern-
               ing the rest of the nation.” 679 F. 3d, at 884 (Williams, J.,
               dissenting) (case below).
                  All this explains why, when we first upheld the Act in
               1966, we described it as “stringent” and “potent.” Katzen-
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               bach, 383 U. S., at 308, 315, 337. We recognized that it
               “may have been an uncommon exercise of congressional
               power,” but concluded that “legislative measures not oth-
               erwise appropriate” could be justified by “exceptional con-
               ditions.” Id., at 334. We have since noted that the Act
               “authorizes federal intrusion into sensitive areas of state
               and local policymaking,” Lopez, 525 U. S., at 282, and
               represents an “extraordinary departure from the tradi-
               tional course of relations between the States and the
               Federal Government,” Presley v. Etowah County Comm’n,
               502 U. S. 491, 500–501 (1992). As we reiterated in
               Northwest Austin, the Act constitutes “extraordinary
               legislation otherwise unfamiliar to our federal system.”
               557 U. S., at 211.
                                            B
                 In 1966, we found these departures from the basic fea-
               tures of our system of government justified. The “blight of
               racial discrimination in voting” had “infected the electoral
               process in parts of our country for nearly a century.”
               Katzenbach, 383 U. S., at 308. Several States had enacted
               a variety of requirements and tests “specifically designed
               to prevent” African-Americans from voting. Id., at 310.
               Case-by-case litigation had proved inadequate to prevent
               such racial discrimination in voting, in part because
               States “merely switched to discriminatory devices not
               covered by the federal decrees,” “enacted difficult new
               tests,” or simply “defied and evaded court orders.” Id., at
               314. Shortly before enactment of the Voting Rights Act,
               only 19.4 percent of African-Americans of voting age were
               registered to vote in Alabama, only 31.8 percent in Louisi-
               ana, and only 6.4 percent in Mississippi. Id., at 313.
               Those figures were roughly 50 percentage points or more
               below the figures for whites. Ibid.
                 In short, we concluded that “[u]nder the compulsion of
               these unique circumstances, Congress responded in a
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               permissibly decisive manner.” Id., at 334, 335. We also
               noted then and have emphasized since that this extra-
               ordinary legislation was intended to be temporary, set to
               expire after five years. Id., at 333; Northwest Austin,
               supra, at 199.
                  At the time, the coverage formula—the means of linking
               the exercise of the unprecedented authority with the
               problem that warranted it—made sense. We found that
               “Congress chose to limit its attention to the geographic
               areas where immediate action seemed necessary.” Kat-
               zenbach, 383 U. S., at 328. The areas where Congress
               found “evidence of actual voting discrimination” shared
               two characteristics: “the use of tests and devices for voter
               registration, and a voting rate in the 1964 presidential
               election at least 12 points below the national average.”
               Id., at 330. We explained that “[t]ests and devices are
               relevant to voting discrimination because of their long
               history as a tool for perpetrating the evil; a low voting rate
               is pertinent for the obvious reason that widespread disen-
               franchisement must inevitably affect the number of actual
               voters.” Ibid. We therefore concluded that “the coverage
               formula [was] rational in both practice and theory.” Ibid.
               It accurately reflected those jurisdictions uniquely charac-
               terized by voting discrimination “on a pervasive scale,”
               linking coverage to the devices used to effectuate discrimi-
               nation and to the resulting disenfranchisement. Id., at
               308. The formula ensured that the “stringent remedies
               [were] aimed at areas where voting discrimination ha[d]
               been most flagrant.” Id., at 315.
                                            C
                  Nearly 50 years later, things have changed dramati-
               cally. Shelby County contends that the preclearance re-
               quirement, even without regard to its disparate coverage,
               is now unconstitutional. Its arguments have a good deal
               of force. In the covered jurisdictions, “[v]oter turnout and
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               registration rates now approach parity. Blatantly discrim-
               inatory evasions of federal decrees are rare. And minority
               candidates hold office at unprecedented levels.” Northwest
               Austin, 557 U. S., at 202. The tests and devices that
               blocked access to the ballot have been forbidden nation-
               wide for over 40 years. See §6, 84 Stat. 315; §102, 89 Stat.
               400.
                  Those conclusions are not ours alone. Congress said the
               same when it reauthorized the Act in 2006, writing that
               “[s]ignificant progress has been made in eliminating first
               generation barriers experienced by minority voters, in-
               cluding increased numbers of registered minority voters,
               minority voter turnout, and minority representation in
               Congress, State legislatures, and local elected offices.”
               §2(b)(1), 120 Stat. 577. The House Report elaborated that
               “the number of African-Americans who are registered and
               who turn out to cast ballots has increased significantly
               over the last 40 years, particularly since 1982,” and noted
               that “[i]n some circumstances, minorities register to vote
               and cast ballots at levels that surpass those of white vot-
               ers.” H. R. Rep. No. 109–478, p. 12 (2006). That Report
               also explained that there have been “significant increases
               in the number of African-Americans serving in elected
               offices”; more specifically, there has been approximately
               a 1,000 percent increase since 1965 in the number of
               African-American elected officials in the six States origi-
               nally covered by the Voting Rights Act. Id., at 18.
                  The following chart, compiled from the Senate and
               House Reports, compares voter registration numbers from
               1965 to those from 2004 in the six originally covered
               States. These are the numbers that were before Congress
               when it reauthorized the Act in 2006:
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                                      1965                    2004
                            White      Black    Gap     White Black       Gap
                Alabama     69.2       19.3     49.9    73.8   72.9        0.9
                Georgia     62.[6]     27.4     35.2    63.5   64.2       -0.7
                Louisiana   80.5       31.6     48.9    75.1   71.1        4.0
                Mississippi 69.9        6.7     63.2    72.3   76.1       -3.8
                South       75.7       37.3     38.4    74.4   71.1        3.3
                Carolina
                Virginia    61.1        38.3    22.8        68.2   57.4   10.8

               See S. Rep. No. 109–295, p. 11 (2006); H. R. Rep. No. 109–
               478, at 12. The 2004 figures come from the Census Bu-
               reau. Census Bureau data from the most recent election
               indicate that African-American voter turnout exceeded
               white voter turnout in five of the six States originally
               covered by §5, with a gap in the sixth State of less than
               one half of one percent. See Dept. of Commerce, Census
               Bureau, Reported Voting and Registration, by Sex, Race
               and Hispanic Origin, for States (Table 4b). The preclear-
               ance statistics are also illuminating. In the first decade
               after enactment of §5, the Attorney General objected to
               14.2 percent of proposed voting changes. H. R Rep. No.
               109–478, at 22. In the last decade before reenactment, the
               Attorney General objected to a mere 0.16 percent. S. Rep.
               No. 109–295, at 13.
                 There is no doubt that these improvements are in large
               part because of the Voting Rights Act. The Act has proved
               immensely successful at redressing racial discrimination
               and integrating the voting process. See §2(b)(1), 120 Stat.
               577. During the “Freedom Summer” of 1964, in Philadel-
               phia, Mississippi, three men were murdered while work-
               ing in the area to register African-American voters. See
               United States v. Price, 383 U. S. 787, 790 (1966). On
               “Bloody Sunday” in 1965, in Selma, Alabama, police beat
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               and used tear gas against hundreds marching in sup-
               port of African-American enfranchisement. See Northwest
               Austin, supra, at 220, n. 3 (THOMAS, J., concurring in
               judgment in part and dissenting in part). Today both of
               those towns are governed by African-American mayors.
               Problems remain in these States and others, but there is
               no denying that, due to the Voting Rights Act, our Nation
               has made great strides.
                  Yet the Act has not eased the restrictions in §5 or nar-
               rowed the scope of the coverage formula in §4(b) along the
               way. Those extraordinary and unprecedented features
               were reauthorized—as if nothing had changed. In fact,
               the Act’s unusual remedies have grown even stronger.
               When Congress reauthorized the Act in 2006, it did so for
               another 25 years on top of the previous 40—a far cry from
               the initial five-year period. See 42 U. S. C. §1973b(a)(8).
               Congress also expanded the prohibitions in §5. We had
               previously interpreted §5 to prohibit only those redistrict-
               ing plans that would have the purpose or effect of worsen-
               ing the position of minority groups. See Bossier II, 528
               U. S., at 324, 335–336. In 2006, Congress amended §5
               to prohibit laws that could have favored such groups but
               did not do so because of a discriminatory purpose, see 42
               U. S. C. §1973c(c), even though we had stated that such
               broadening of §5 coverage would “exacerbate the substan-
               tial federalism costs that the preclearance procedure
               already exacts, perhaps to the extent of raising concerns
               about §5’s constitutionality,” Bossier II, supra, at 336
               (citation and internal quotation marks omitted). In addi-
               tion, Congress expanded §5 to prohibit any voting law
               “that has the purpose of or will have the effect of diminish-
               ing the ability of any citizens of the United States,” on
               account of race, color, or language minority status, “to
               elect their preferred candidates of choice.” §1973c(b). In
               light of those two amendments, the bar that covered juris-
               dictions must clear has been raised even as the conditions
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               justifying that requirement have dramatically improved.
                  We have also previously highlighted the concern that
               “the preclearance requirements in one State [might]
               be unconstitutional in another.” Northwest Austin, 557
               U. S., at 203; see Georgia v. Ashcroft, 539 U. S., at 491
               (KENNEDY, J., concurring) (“considerations of race that
               would doom a redistricting plan under the Fourteenth
               Amendment or §2 [of the Voting Rights Act] seem to be
               what save it under §5”). Nothing has happened since to
               alleviate this troubling concern about the current applica-
               tion of §5.
                  Respondents do not deny that there have been im-
               provements on the ground, but argue that much of this
               can be attributed to the deterrent effect of §5, which dis-
               suades covered jurisdictions from engaging in discrimina-
               tion that they would resume should §5 be struck down.
               Under this theory, however, §5 would be effectively im-
               mune from scrutiny; no matter how “clean” the record
               of covered jurisdictions, the argument could always be
               made that it was deterrence that accounted for the good
               behavior.
                  The provisions of §5 apply only to those jurisdictions
               singled out by §4. We now consider whether that coverage
               formula is constitutional in light of current conditions.
                                            III
                                             A
                 When upholding the constitutionality of the coverage
               formula in 1966, we concluded that it was “rational in both
               practice and theory.” Katzenbach, 383 U. S., at 330. The
               formula looked to cause (discriminatory tests) and ef-
               fect (low voter registration and turnout), and tailored the
               remedy (preclearance) to those jurisdictions exhibiting
               both.
                 By 2009, however, we concluded that the “coverage
               formula raise[d] serious constitutional questions.” North-
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               west Austin, 557 U. S., at 204. As we explained, a stat-
               ute’s “current burdens” must be justified by “current
               needs,” and any “disparate geographic coverage” must be
               “sufficiently related to the problem that it targets.” Id., at
               203. The coverage formula met that test in 1965, but no
               longer does so.
                 Coverage today is based on decades-old data and eradi-
               cated practices. The formula captures States by reference
               to literacy tests and low voter registration and turnout in
               the 1960s and early 1970s. But such tests have been
               banned nationwide for over 40 years. §6, 84 Stat. 315;
               §102, 89 Stat. 400. And voter registration and turnout
               numbers in the covered States have risen dramatically in
               the years since. H. R. Rep. No. 109–478, at 12. Racial
               disparity in those numbers was compelling evidence justi-
               fying the preclearance remedy and the coverage formula.
               See, e.g., Katzenbach, supra, at 313, 329–330. There is no
               longer such a disparity.
                 In 1965, the States could be divided into two groups:
               those with a recent history of voting tests and low voter
               registration and turnout, and those without those charac-
               teristics. Congress based its coverage formula on that
               distinction. Today the Nation is no longer divided along
               those lines, yet the Voting Rights Act continues to treat it
               as if it were.
                                             B
                 The Government’s defense of the formula is limited.
               First, the Government contends that the formula is “re-
               verse-engineered”: Congress identified the jurisdictions to
               be covered and then came up with criteria to describe
               them. Brief for Federal Respondent 48–49. Under that
               reasoning, there need not be any logical relationship be-
               tween the criteria in the formula and the reason for
               coverage; all that is necessary is that the formula happen
               to capture the jurisdictions Congress wanted to single out.
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                  The Government suggests that Katzenbach sanctioned
               such an approach, but the analysis in Katzenbach was
               quite different. Katzenbach reasoned that the coverage
               formula was rational because the “formula . . . was rele-
               vant to the problem”: “Tests and devices are relevant to
               voting discrimination because of their long history as a
               tool for perpetrating the evil; a low voting rate is pertinent
               for the obvious reason that widespread disenfranchise-
               ment must inevitably affect the number of actual voters.”
               383 U. S., at 329, 330.
                  Here, by contrast, the Government’s reverse-
               engineering argument does not even attempt to demon-
               strate the continued relevance of the formula to the problem
               it targets. And in the context of a decision as significant
               as this one—subjecting a disfavored subset of States
               to “extraordinary legislation otherwise unfamiliar to our
               federal system,” Northwest Austin, supra, at 211—that
               failure to establish even relevance is fatal.
                  The Government falls back to the argument that be-
               cause the formula was relevant in 1965, its continued use
               is permissible so long as any discrimination remains in the
               States Congress identified back then—regardless of how
               that discrimination compares to discrimination in States
               unburdened by coverage. Brief for Federal Respondent
               49–50. This argument does not look to “current political
               conditions,” Northwest Austin, supra, at 203, but instead
               relies on a comparison between the States in 1965. That
               comparison reflected the different histories of the North
               and South. It was in the South that slavery was upheld by
               law until uprooted by the Civil War, that the reign of Jim
               Crow denied African-Americans the most basic freedoms,
               and that state and local governments worked tirelessly to
               disenfranchise citizens on the basis of race. The Court
               invoked that history—rightly so—in sustaining the dis-
               parate coverage of the Voting Rights Act in 1966. See
               Katzenbach, supra, at 308 (“The constitutional propriety of
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               the Voting Rights Act of 1965 must be judged with refer-
               ence to the historical experience which it reflects.”).
                  But history did not end in 1965. By the time the Act
               was reauthorized in 2006, there had been 40 more years of
               it. In assessing the “current need[ ]” for a preclearance
               system that treats States differently from one another
               today, that history cannot be ignored. During that time,
               largely because of the Voting Rights Act, voting tests were
               abolished, disparities in voter registration and turnout
               due to race were erased, and African-Americans attained
               political office in record numbers. And yet the coverage
               formula that Congress reauthorized in 2006 ignores these
               developments, keeping the focus on decades-old data rel-
               evant to decades-old problems, rather than current data
               reflecting current needs.
                  The Fifteenth Amendment commands that the right to
               vote shall not be denied or abridged on account of race or
               color, and it gives Congress the power to enforce that
               command. The Amendment is not designed to punish for
               the past; its purpose is to ensure a better future. See Rice
               v. Cayetano, 528 U. S. 495, 512 (2000) (“Consistent with
               the design of the Constitution, the [Fifteenth] Amendment
               is cast in fundamental terms, terms transcending the
               particular controversy which was the immediate impetus
               for its enactment.”). To serve that purpose, Congress—if it
               is to divide the States—must identify those jurisdictions to
               be singled out on a basis that makes sense in light of
               current conditions. It cannot rely simply on the past. We
               made that clear in Northwest Austin, and we make it clear
               again today.
                                            C
                 In defending the coverage formula, the Government, the
               intervenors, and the dissent also rely heavily on data from
               the record that they claim justify disparate coverage.
               Congress compiled thousands of pages of evidence before
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               reauthorizing the Voting Rights Act. The court below and
               the parties have debated what that record shows—they
               have gone back and forth about whether to compare cov-
               ered to noncovered jurisdictions as blocks, how to dis-
               aggregate the data State by State, how to weigh §2 cases
               as evidence of ongoing discrimination, and whether to
               consider evidence not before Congress, among other is-
               sues. Compare, e.g., 679 F. 3d, at 873–883 (case below),
               with id., at 889–902 (Williams, J., dissenting). Regardless
               of how to look at the record, however, no one can fairly say
               that it shows anything approaching the “pervasive,” “fla-
               grant,” “widespread,” and “rampant” discrimination that
               faced Congress in 1965, and that clearly distinguished the
               covered jurisdictions from the rest of the Nation at that
               time. Katzenbach, supra, at 308, 315, 331; Northwest
               Austin, 557 U. S., at 201.
                  But a more fundamental problem remains: Congress did
               not use the record it compiled to shape a coverage formula
               grounded in current conditions. It instead reenacted a
               formula based on 40-year-old facts having no logical rela-
               tion to the present day. The dissent relies on “second-
               generation barriers,” which are not impediments to the
               casting of ballots, but rather electoral arrangements that
               affect the weight of minority votes. That does not cure the
               problem. Viewing the preclearance requirements as tar-
               geting such efforts simply highlights the irrationality of
               continued reliance on the §4 coverage formula, which is
               based on voting tests and access to the ballot, not vote
               dilution. We cannot pretend that we are reviewing an
               updated statute, or try our hand at updating the statute
               ourselves, based on the new record compiled by Congress.
               Contrary to the dissent’s contention, see post, at 23, we are
               not ignoring the record; we are simply recognizing that it
               played no role in shaping the statutory formula before us
               today.
                  The dissent also turns to the record to argue that, in
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               light of voting discrimination in Shelby County, the county
               cannot complain about the provisions that subject it to
               preclearance. Post, at 23–30. But that is like saying that
               a driver pulled over pursuant to a policy of stopping all
               redheads cannot complain about that policy, if it turns out
               his license has expired. Shelby County’s claim is that the
               coverage formula here is unconstitutional in all its appli-
               cations, because of how it selects the jurisdictions sub-
               jected to preclearance. The county was selected based on
               that formula, and may challenge it in court.
                                            D
                  The dissent proceeds from a flawed premise. It quotes
               the famous sentence from McCulloch v. Maryland, 4
               Wheat. 316, 421 (1819), with the following emphasis: “Let
               the end be legitimate, let it be within the scope of the
               constitution, and all means which are appropriate, which
               are plainly adapted to that end, which are not prohibited,
               but consist with the letter and spirit of the constitution,
               are constitutional.” Post, at 9 (emphasis in dissent). But
               this case is about a part of the sentence that the dissent
               does not emphasize—the part that asks whether a legisla-
               tive means is “consist[ent] with the letter and spirit of the
               constitution.” The dissent states that “[i]t cannot tenably
               be maintained” that this is an issue with regard to the
               Voting Rights Act, post, at 9, but four years ago, in an
               opinion joined by two of today’s dissenters, the Court
               expressly stated that “[t]he Act’s preclearance require-
               ment and its coverage formula raise serious constitutional
               questions.” Northwest Austin, supra, at 204. The dissent
               does not explain how those “serious constitutional ques-
               tions” became untenable in four short years.
                  The dissent treats the Act as if it were just like any
               other piece of legislation, but this Court has made clear
               from the beginning that the Voting Rights Act is far from
               ordinary. At the risk of repetition, Katzenbach indicated
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               that the Act was “uncommon” and “not otherwise appro-
               priate,” but was justified by “exceptional” and “unique”
               conditions. 383 U. S., at 334, 335. Multiple decisions
               since have reaffirmed the Act’s “extraordinary” nature.
               See, e.g., Northwest Austin, supra, at 211. Yet the dissent
               goes so far as to suggest instead that the preclearance
               requirement and disparate treatment of the States should
               be upheld into the future “unless there [is] no or almost no
               evidence of unconstitutional action by States.” Post, at 33.
                  In other ways as well, the dissent analyzes the ques-
               tion presented as if our decision in Northwest Austin never
               happened. For example, the dissent refuses to con-
               sider the principle of equal sovereignty, despite Northwest
               Austin’s emphasis on its significance. Northwest Austin
               also emphasized the “dramatic” progress since 1965, 557
               U. S., at 201, but the dissent describes current levels of
               discrimination as “flagrant,” “widespread,” and “perva-
               sive,” post, at 7, 17 (internal quotation marks omitted).
               Despite the fact that Northwest Austin requires an Act’s
               “disparate geographic coverage” to be “sufficiently related”
               to its targeted problems, 557 U. S., at 203, the dissent
               maintains that an Act’s limited coverage actually eases
               Congress’s burdens, and suggests that a fortuitous rela-
               tionship should suffice. Although Northwest Austin stated
               definitively that “current burdens” must be justified by
               “current needs,” ibid., the dissent argues that the coverage
               formula can be justified by history, and that the required
               showing can be weaker on reenactment than when the law
               was first passed.
                  There is no valid reason to insulate the coverage for-
               mula from review merely because it was previously enacted
               40 years ago. If Congress had started from scratch in
               2006, it plainly could not have enacted the present cover-
               age formula. It would have been irrational for Congress to
               distinguish between States in such a fundamental way
               based on 40-year-old data, when today’s statistics tell an
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                                    Opinion of the Court

               entirely different story. And it would have been irrational
               to base coverage on the use of voting tests 40 years ago,
               when such tests have been illegal since that time. But
               that is exactly what Congress has done.
                                        *    *    *
                  Striking down an Act of Congress “is the gravest and
               most delicate duty that this Court is called on to perform.”
               Blodgett v. Holden, 275 U. S. 142, 148 (1927) (Holmes, J.,
               concurring). We do not do so lightly. That is why, in 2009,
               we took care to avoid ruling on the constitutionality of
               the Voting Rights Act when asked to do so, and instead
               resolved the case then before us on statutory grounds. But
               in issuing that decision, we expressed our broader con-
               cerns about the constitutionality of the Act. Congress
               could have updated the coverage formula at that time, but
               did not do so. Its failure to act leaves us today with no
               choice but to declare §4(b) unconstitutional. The formula
               in that section can no longer be used as a basis for subject-
               ing jurisdictions to preclearance.
                  Our decision in no way affects the permanent, nation-
               wide ban on racial discrimination in voting found in §2.
               We issue no holding on §5 itself, only on the coverage
               formula. Congress may draft another formula based on
               current conditions. Such a formula is an initial prerequi-
               site to a determination that exceptional conditions still
               exist justifying such an “extraordinary departure from the
               traditional course of relations between the States and the
               Federal Government.” Presley, 502 U. S., at 500–501. Our
               country has changed, and while any racial discrimination
               in voting is too much, Congress must ensure that the
               legislation it passes to remedy that problem speaks to
               current conditions.
                  The judgment of the Court of Appeals is reversed.

                                                            It is so ordered.
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                                    THOMAS, J., concurring

                     SUPREME COURT OF THE UNITED
                               STATES
                                         _________________

                                          No. 12–96
                                         _________________


                 SHELBY COUNTY, ALABAMA, PETITIONER v. ERIC
                   H. HOLDER, JR., ATTORNEY GENERAL, ET AL.
                ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
                   APPEALS FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                        [June 25, 2013]

                   JUSTICE THOMAS, concurring.
                   I join the Court’s opinion in full but write separately to
               explain that I would find §5 of the Voting Rights Act un-
               constitutional as well. The Court’s opinion sets forth the
               reasons.
                   “The Voting Rights Act of 1965 employed extraordinary
               measures to address an extraordinary problem.” Ante, at
               1. In the face of “unremitting and ingenious defiance” of
               citizens’ constitutionally protected right to vote, §5 was
               necessary to give effect to the Fifteenth Amendment in
               particular regions of the country. South Carolina v. Katzen-
               bach, 383 U. S. 301, 309 (1966). Though §5’s preclear-
               ance requirement represented a “shar[p] depart[ure]” from
               “basic principles” of federalism and the equal sovereignty
               of the States, ante, at 9, 11, the Court upheld the measure
               against early constitutional challenges because it was
               necessary at the time to address “voting discrimination
               where it persist[ed] on a pervasive scale.” Katzenbach,
               supra, at 308.
                   Today, our Nation has changed. “[T]he conditions that
               originally justified [§5] no longer characterize voting in the
               covered jurisdictions.” Ante, at 2. As the Court explains:
               “ ‘[V]oter turnout and registration rates now approach
               parity. Blatantly discriminatory evasions of federal de-
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                                    THOMAS, J., concurring

               crees are rare. And minority candidates hold office at un-
               precedented levels.’ ” Ante, at 13–14 (quoting Northwest
               Austin Municipal Util. Dist. No. One v. Holder, 557 U. S.
               193, 202 (2009)).
                  In spite of these improvements, however, Congress
               increased the already significant burdens of §5. Following
               its reenactment in 2006, the Voting Rights Act was
               amended to “prohibit more conduct than before.” Ante,
               at 5. “Section 5 now forbids voting changes with ‘any dis-
               criminatory purpose’ as well as voting changes that dimin-
               ish the ability of citizens, on account of race, color, or
               language minority status, ‘to elect their preferred candi-
               dates of choice.’ ” Ante, at 6. While the pre-2006 version of
               the Act went well beyond protection guaranteed under the
               Constitution, see Reno v. Bossier Parish School Bd., 520
               U. S. 471, 480–482 (1997), it now goes even further.
                  It is, thus, quite fitting that the Court repeatedly points
               out that this legislation is “extraordinary” and “unprece-
               dented” and recognizes the significant constitutional
               problems created by Congress’ decision to raise “the bar
               that covered jurisdictions must clear,” even as “the condi-
               tions justifying that requirement have dramatically im-
               proved.” Ante, at 16–17. However one aggregates the
               data compiled by Congress, it cannot justify the consider-
               able burdens created by §5. As the Court aptly notes:
               “[N]o one can fairly say that [the record] shows anything
               approaching the ‘pervasive,’ ‘flagrant,’ ‘widespread,’ and
               ‘rampant’ discrimination that faced Congress in 1965, and
               that clearly distinguished the covered jurisdictions from
               the rest of the Nation at that time.” Ante, at 21. Indeed,
               circumstances in the covered jurisdictions can no longer be
               characterized as “exceptional” or “unique.” “The extensive
               pattern of discrimination that led the Court to previously
               uphold §5 as enforcing the Fifteenth Amendment no longer
               exists.” Northwest Austin, supra, at 226 (THOMAS, J.,
               concurring in judgment in part and dissenting in part).
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                                    THOMAS, J., concurring

               Section 5 is, thus, unconstitutional.
                 While the Court claims to “issue no holding on §5 itself,”
               ante, at 24, its own opinion compellingly demonstrates
               that Congress has failed to justify “ ‘current burdens’ ” with
               a record demonstrating “ ‘current needs.’ ” See ante, at 9
               (quoting Northwest Austin, supra, at 203). By leaving the
               inevitable conclusion unstated, the Court needlessly pro-
               longs the demise of that provision. For the reasons stated
               in the Court’s opinion, I would find §5 unconstitutional.
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                                      GINSBURG, J., dissenting

               SUPREME COURT OF THE UNITED STATES
                                            _________________

                                             No. 12–96
                                            _________________


                 SHELBY COUNTY, ALABAMA, PETITIONER v. ERIC
                   H. HOLDER, JR., ATTORNEY GENERAL, ET AL.
                ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
                   APPEALS FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                          [June 25, 2013]

                  JUSTICE GINSBURG, with whom JUSTICE BREYER,
               JUSTICE SOTOMAYOR, and JUSTICE KAGAN join, dissenting.
                  In the Court’s view, the very success of §5 of the Voting
               Rights Act demands its dormancy. Congress was of
               another mind. Recognizing that large progress has been
               made, Congress determined, based on a voluminous rec­
               ord, that the scourge of discrimination was not yet extir­
               pated. The question this case presents is who decides
               whether, as currently operative, §5 remains justifiable,1
               this Court, or a Congress charged with the obligation to
               enforce the post-Civil War Amendments “by appropriate
               legislation.” With overwhelming support in both Houses,
               Congress concluded that, for two prime reasons, §5 should
               continue in force, unabated. First, continuance would
               facilitate completion of the impressive gains thus far
               made; and second, continuance would guard against back­
               sliding. Those assessments were well within Congress’
               province to make and should elicit this Court’s unstinting
               approbation.
                                            I
                 “[V]oting discrimination still exists; no one doubts that.”
               ——————
                  1 The Court purports to declare unconstitutional only the coverage

               formula set out in §4(b). See ante, at 24. But without that formula, §5
               is immobilized.
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                                   GINSBURG, J., dissenting

               Ante, at 2. But the Court today terminates the remedy
               that proved to be best suited to block that discrimination.
               The Voting Rights Act of 1965 (VRA) has worked to com­
               bat voting discrimination where other remedies had been
               tried and failed. Particularly effective is the VRA’s re­
               quirement of federal preclearance for all changes to voting
               laws in the regions of the country with the most aggravated
               records of rank discrimination against minority voting
               rights.
                  A century after the Fourteenth and Fifteenth Amend­
               ments guaranteed citizens the right to vote free of dis­
               crimination on the basis of race, the “blight of racial
               discrimination in voting” continued to “infec[t] the
               electoral process in parts of our country.” South Carolina v.
               Katzenbach, 383 U. S. 301, 308 (1966). Early attempts to
               cope with this vile infection resembled battling the Hydra.
               Whenever one form of voting discrimination was identified
               and prohibited, others sprang up in its place. This Court
               repeatedly encountered the remarkable “variety and
               persistence” of laws disenfranchising minority citizens.
               Id., at 311. To take just one example, the Court, in 1927,
               held unconstitutional a Texas law barring black voters
               from participating in primary elections, Nixon v. Herndon,
               273 U. S. 536, 541; in 1944, the Court struck down a
               “reenacted” and slightly altered version of the same law,
               Smith v. Allwright, 321 U. S. 649, 658; and in 1953, the
               Court once again confronted an attempt by Texas to “cir­
               cumven[t]” the Fifteenth Amendment by adopting yet
               another variant of the all-white primary, Terry v. Adams,
               345 U. S. 461, 469.
                  During this era, the Court recognized that discrimina­
               tion against minority voters was a quintessentially politi­
               cal problem requiring a political solution. As Justice
               Holmes explained: If “the great mass of the white popula­
               tion intends to keep the blacks from voting,” “relief from
               [that] great political wrong, if done, as alleged, by the
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                                  GINSBURG, J., dissenting

               people of a State and the State itself, must be given by
               them or by the legislative and political department of
               the government of the United States.” Giles v. Harris, 189
               U. S. 475, 488 (1903).
                  Congress learned from experience that laws targeting
               particular electoral practices or enabling case-by-case
               litigation were inadequate to the task. In the Civil Rights
               Acts of 1957, 1960, and 1964, Congress authorized and
               then expanded the power of “the Attorney General to seek
               injunctions against public and private interference with
               the right to vote on racial grounds.” Katzenbach, 383
               U. S., at 313. But circumstances reduced the ameliorative
               potential of these legislative Acts:
                   “Voting suits are unusually onerous to prepare, some­
                   times requiring as many as 6,000 man-hours spent
                   combing through registration records in preparation
                   for trial. Litigation has been exceedingly slow, in part
                   because of the ample opportunities for delay afforded
                   voting officials and others involved in the proceed­
                   ings. Even when favorable decisions have finally been
                   obtained, some of the States affected have merely
                   switched to discriminatory devices not covered by the
                   federal decrees or have enacted difficult new tests de­
                   signed to prolong the existing disparity between white
                   and Negro registration. Alternatively, certain local of­
                   ficials have defied and evaded court orders or have
                   simply closed their registration offices to freeze the
                   voting rolls.” Id., at 314 (footnote omitted).
               Patently, a new approach was needed.
                  Answering that need, the Voting Rights Act became one
               of the most consequential, efficacious, and amply justified
               exercises of federal legislative power in our Nation’s his­
               tory. Requiring federal preclearance of changes in voting
               laws in the covered jurisdictions—those States and locali­
               ties where opposition to the Constitution’s commands were
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               most virulent—the VRA provided a fit solution for minor­
               ity voters as well as for States. Under the preclearance
               regime established by §5 of the VRA, covered jurisdictions
               must submit proposed changes in voting laws or proce­
               dures to the Department of Justice (DOJ), which has 60
               days to respond to the changes. 79 Stat. 439, codified at
               42 U. S. C. §1973c(a). A change will be approved unless
               DOJ finds it has “the purpose [or] . . . the effect of denying
               or abridging the right to vote on account of race or color.”
               Ibid. In the alternative, the covered jurisdiction may seek
               approval by a three-judge District Court in the District of
               Columbia.
                  After a century’s failure to fulfill the promise of the
               Fourteenth and Fifteenth Amendments, passage of the
               VRA finally led to signal improvement on this front. “The
               Justice Department estimated that in the five years after
               [the VRA’s] passage, almost as many blacks registered [to
               vote] in Alabama, Mississippi, Georgia, Louisiana, North
               Carolina, and South Carolina as in the entire century
               before 1965.” Davidson, The Voting Rights Act: A Brief
               History, in Controversies in Minority Voting 7, 21 (B.
               Grofman & C. Davidson eds. 1992). And in assessing the
               overall effects of the VRA in 2006, Congress found that
               “[s]ignificant progress has been made in eliminating first
               generation barriers experienced by minority voters, in­
               cluding increased numbers of registered minority voters,
               minority voter turnout, and minority representation in
               Congress, State legislatures, and local elected offices. This
               progress is the direct result of the Voting Rights Act of
               1965.” Fannie Lou Hamer, Rosa Parks, and Coretta Scott
               King Voting Rights Act Reauthorization and Amendments
               Act of 2006 (hereinafter 2006 Reauthorization), §2(b)(1),
               120 Stat. 577. On that matter of cause and effects there
               can be no genuine doubt.
                  Although the VRA wrought dramatic changes in the
               realization of minority voting rights, the Act, to date,
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                                   GINSBURG, J., dissenting

               surely has not eliminated all vestiges of discrimination
               against the exercise of the franchise by minority citizens.
               Jurisdictions covered by the preclearance requirement
               continued to submit, in large numbers, proposed changes
               to voting laws that the Attorney General declined to ap­
               prove, auguring that barriers to minority voting would
               quickly resurface were the preclearance remedy elimi­
               nated. City of Rome v. United States, 446 U. S. 156, 181
               (1980). Congress also found that as “registration and
               voting of minority citizens increas[ed], other measures
               may be resorted to which would dilute increasing minority
               voting strength.” Ibid. (quoting H. R. Rep. No. 94–196,
               p. 10 (1975)). See also Shaw v. Reno, 509 U. S. 630,
               640 (1993) (“[I]t soon became apparent that guaranteeing
               equal access to the polls would not suffice to root out other
               racially discriminatory voting practices” such as voting
               dilution). Efforts to reduce the impact of minority votes,
               in contrast to direct attempts to block access to the bal­
               lot, are aptly described as “second-generation barriers” to
               minority voting.
                  Second-generation barriers come in various forms. One
               of the blockages is racial gerrymandering, the redrawing
               of legislative districts in an “effort to segregate the races
               for purposes of voting.” Id., at 642. Another is adoption of
               a system of at-large voting in lieu of district-by-district
               voting in a city with a sizable black minority. By switch­
               ing to at-large voting, the overall majority could control
               the election of each city council member, effectively elimi­
               nating the potency of the minority’s votes. Grofman &
               Davidson, The Effect of Municipal Election Structure on
               Black Representation in Eight Southern States, in
               Quiet Revolution in the South 301, 319 (C. Davidson
               & B. Grofman eds. 1994) (hereinafter Quiet Revolution).
               A similar effect could be achieved if the city engaged
               in discriminatory annexation by incorporating majority­
               white areas into city limits, thereby decreasing the effect
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                                  GINSBURG, J., dissenting

               of VRA-occasioned increases in black voting. Whatever
               the device employed, this Court has long recognized that
               vote dilution, when adopted with a discriminatory pur­
               pose, cuts down the right to vote as certainly as denial of
               access to the ballot. Shaw, 509 U. S., at 640–641; Allen v.
               State Bd. of Elections, 393 U. S. 544, 569 (1969); Reynolds
               v. Sims, 377 U. S. 533, 555 (1964). See also H. R. Rep. No.
               109–478, p. 6 (2006) (although “[d]iscrimination today is
               more subtle than the visible methods used in 1965,” “the
               effect and results are the same, namely a diminishing of
               the minority community’s ability to fully participate in the
               electoral process and to elect their preferred candidates”).
                  In response to evidence of these substituted barriers,
               Congress reauthorized the VRA for five years in 1970, for
               seven years in 1975, and for 25 years in 1982. Ante, at 4–5.
               Each time, this Court upheld the reauthorization as a
               valid exercise of congressional power. Ante, at 5. As the
               1982 reauthorization approached its 2007 expiration date,
               Congress again considered whether the VRA’s preclear­
               ance mechanism remained an appropriate response to the
               problem of voting discrimination in covered jurisdictions.
                  Congress did not take this task lightly. Quite the oppo­
               site. The 109th Congress that took responsibility for the
               renewal started early and conscientiously. In October
               2005, the House began extensive hearings, which contin­
               ued into November and resumed in March 2006. S. Rep.
               No. 109–295, p. 2 (2006). In April 2006, the Senate fol­
               lowed suit, with hearings of its own. Ibid. In May 2006,
               the bills that became the VRA’s reauthorization were
               introduced in both Houses. Ibid. The House held further
               hearings of considerable length, as did the Senate, which
               continued to hold hearings into June and July. H. R. Rep.
               109–478, at 5; S. Rep. 109–295, at 3–4. In mid-July, the
               House considered and rejected four amendments, then
               passed the reauthorization by a vote of 390 yeas to 33
               nays. 152 Cong. Rec. H5207 (July 13, 2006); Persily, The
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               Promise and Pitfalls of the New Voting Rights Act, 117
               Yale L. J. 174, 182–183 (2007) (hereinafter Persily). The
               bill was read and debated in the Senate, where it passed
               by a vote of 98 to 0. 152 Cong. Rec. S8012 (July 20, 2006).
               President Bush signed it a week later, on July 27, 2006,
               recognizing the need for “further work . . . in the fight
               against injustice,” and calling the reauthorization “an
               example of our continued commitment to a united America
               where every person is valued and treated with dignity and
               respect.” 152 Cong. Rec. S8781 (Aug. 3, 2006).
                  In the long course of the legislative process, Congress
               “amassed a sizable record.” Northwest Austin Municipal
               Util. Dist. No. One v. Holder, 557 U. S. 193, 205 (2009).
               See also 679 F. 3d 848, 865–873 (CADC 2012) (describing
               the “extensive record” supporting Congress’ determina­
               tion that “serious and widespread intentional discrimination
               persisted in covered jurisdictions”). The House and Senate
               Judiciary Committees held 21 hearings, heard from scores
               of witnesses, received a number of investigative reports
               and other written documentation of continuing discrimina­
               tion in covered jurisdictions. In all, the legislative record
               Congress compiled filled more than 15,000 pages.
               H. R. Rep. 109–478, at 5, 11–12; S. Rep. 109–295, at 2–4,
               15. The compilation presents countless “examples of fla­
               grant racial discrimination” since the last reauthoriza­
               tion; Congress also brought to light systematic evidence
               that “intentional racial discrimination in voting remains
               so serious and widespread in covered jurisdictions that
               section 5 preclearance is still needed.” 679 F. 3d, at 866.
                  After considering the full legislative record, Congress
               made the following findings: The VRA has directly caused
               significant progress in eliminating first-generation barri­
               ers to ballot access, leading to a marked increase in minor­
               ity voter registration and turnout and the number of
               minority elected officials. 2006 Reauthorization §2(b)(1).
               But despite this progress, “second generation barriers
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                                   GINSBURG, J., dissenting

               constructed to prevent minority voters from fully partici­
               pating in the electoral process” continued to exist, as well
               as racially polarized voting in the covered jurisdictions,
               which increased the political vulnerability of racial and
               language minorities in those jurisdictions. §§2(b)(2)–(3),
               120 Stat. 577. Extensive “[e]vidence of continued discrim­
               ination,” Congress concluded, “clearly show[ed] the con­
               tinued need for Federal oversight” in covered jurisdictions.
               §§2(b)(4)–(5), id., at 577–578. The overall record demon­
               strated to the federal lawmakers that, “without the con­
               tinuation of the Voting Rights Act of 1965 protections,
               racial and language minority citizens will be deprived of
               the opportunity to exercise their right to vote, or will have
               their votes diluted, undermining the significant gains
               made by minorities in the last 40 years.” §2(b)(9), id., at
               578.
                 Based on these findings, Congress reauthorized pre­
               clearance for another 25 years, while also undertaking to
               reconsider the extension after 15 years to ensure that the
               provision was still necessary and effective. 42 U. S. C.
               §1973b(a)(7), (8) (2006 ed., Supp. V). The question before
               the Court is whether Congress had the authority under
               the Constitution to act as it did.
                                            II
                  In answering this question, the Court does not write on
               a clean slate. It is well established that Congress’ judg­
               ment regarding exercise of its power to enforce the Four­
               teenth and Fifteenth Amendments warrants substantial
               deference. The VRA addresses the combination of race
               discrimination and the right to vote, which is “preserva­
               tive of all rights.” Yick Wo v. Hopkins, 118 U. S. 356, 370
               (1886). When confronting the most constitutionally invid­
               ious form of discrimination, and the most fundamental
               right in our democratic system, Congress’ power to act is
               at its height.
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                  The basis for this deference is firmly rooted in both
               constitutional text and precedent. The Fifteenth Amend­
               ment, which targets precisely and only racial discrimina­
               tion in voting rights, states that, in this domain, “Congress
               shall have power to enforce this article by appropriate
               legislation.”2 In choosing this language, the Amendment’s
               framers invoked Chief Justice Marshall’s formulation of
               the scope of Congress’ powers under the Necessary and
               Proper Clause:
                    “Let the end be legitimate, let it be within the scope of
                    the constitution, and all means which are appropriate,
                    which are plainly adapted to that end, which are not
                    prohibited, but consist with the letter and spirit of the
                    constitution, are constitutional.” McCulloch v. Mary-
                    land, 4 Wheat. 316, 421 (1819) (emphasis added).
                 It cannot tenably be maintained that the VRA, an Act of
               Congress adopted to shield the right to vote from racial
               discrimination, is inconsistent with the letter or spirit of
               the Fifteenth Amendment, or any provision of the Consti­
               tution read in light of the Civil War Amendments. No­
               where in today’s opinion, or in Northwest Austin,3 is there
               ——————
                  2 The Constitution uses the words “right to vote” in five separate

               places: the Fourteenth, Fifteenth, Nineteenth, Twenty-Fourth, and
               Twenty-Sixth Amendments. Each of these Amendments contains the
               same broad empowerment of Congress to enact “appropriate legisla­
               tion” to enforce the protected right. The implication is unmistakable:
               Under our constitutional structure, Congress holds the lead rein in
               making the right to vote equally real for all U. S. citizens. These
               Amendments are in line with the special role assigned to Congress in
               protecting the integrity of the democratic process in federal elections.
               U. S. Const., Art. I, §4 (“[T]he Congress may at any time by Law make
               or alter” regulations concerning the “Times, Places and Manner of
               holding Elections for Senators and Representatives.”); Arizona v. Inter
               Tribal Council of Ariz., Inc., ante, at 5–6.
                  3 Acknowledging the existence of “serious constitutional questions,”

               see ante, at 22 (internal quotation marks omitted), does not suggest
               how those questions should be answered.
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               clear recognition of the transformative effect the Fifteenth
               Amendment aimed to achieve. Notably, “the Founders’
               first successful amendment told Congress that it could
               ‘make no law’ over a certain domain”; in contrast, the Civil
               War Amendments used “language [that] authorized trans­
               formative new federal statutes to uproot all vestiges of
               unfreedom and inequality” and provided “sweeping en­
               forcement powers . . . to enact ‘appropriate’ legislation
               targeting state abuses.” A. Amar, America’s Constitution:
               A Biography 361, 363, 399 (2005). See also McConnell,
               Institutions and Interpretation: A Critique of City of
               Boerne v. Flores, 111 Harv. L. Rev. 153, 182 (1997)
               (quoting Civil War-era framer that “the remedy for the
               violation of the fourteenth and fifteenth amendments
               was expressly not left to the courts. The remedy was
               legislative.”).
                  The stated purpose of the Civil War Amendments was to
               arm Congress with the power and authority to protect all
               persons within the Nation from violations of their rights
               by the States. In exercising that power, then, Congress
               may use “all means which are appropriate, which are
               plainly adapted” to the constitutional ends declared by
               these Amendments. McCulloch, 4 Wheat., at 421. So
               when Congress acts to enforce the right to vote free from
               racial discrimination, we ask not whether Congress has
               chosen the means most wise, but whether Congress has
               rationally selected means appropriate to a legitimate end.
               “It is not for us to review the congressional resolution of
               [the need for its chosen remedy]. It is enough that we be
               able to perceive a basis upon which the Congress might
               resolve the conflict as it did.” Katzenbach v. Morgan, 384
               U. S. 641, 653 (1966).
                  Until today, in considering the constitutionality of the
               VRA, the Court has accorded Congress the full measure of
               respect its judgments in this domain should garner. South
               Carolina v. Katzenbach supplies the standard of review:
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               “As against the reserved powers of the States, Congress
               may use any rational means to effectuate the constitu­
               tional prohibition of racial discrimination in voting.” 383
               U. S., at 324. Faced with subsequent reauthorizations of
               the VRA, the Court has reaffirmed this standard. E.g.,
               City of Rome, 446 U. S., at 178. Today’s Court does not
               purport to alter settled precedent establishing that the
               dispositive question is whether Congress has employed
               “rational means.”
                  For three reasons, legislation reauthorizing an existing
               statute is especially likely to satisfy the minimal require­
               ments of the rational-basis test. First, when reauthorization
               is at issue, Congress has already assembled a legislative
               record justifying the initial legislation. Congress is en­
               titled to consider that preexisting record as well as the
               record before it at the time of the vote on reauthorization.
               This is especially true where, as here, the Court has re­
               peatedly affirmed the statute’s constitutionality and Con­
               gress has adhered to the very model the Court has upheld.
               See id., at 174 (“The appellants are asking us to do noth­
               ing less than overrule our decision in South Carolina v.
               Katzenbach . . . , in which we upheld the constitutionality
               of the Act.”); Lopez v. Monterey County, 525 U. S. 266, 283
               (1999) (similar).
                  Second, the very fact that reauthorization is necessary
               arises because Congress has built a temporal limitation
               into the Act. It has pledged to review, after a span of
               years (first 15, then 25) and in light of contemporary
               evidence, the continued need for the VRA. Cf. Grutter v.
               Bollinger, 539 U. S. 306, 343 (2003) (anticipating, but not
               guaranteeing, that, in 25 years, “the use of racial prefer­
               ences [in higher education] will no longer be necessary”).
                  Third, a reviewing court should expect the record sup­
               porting reauthorization to be less stark than the record
               originally made. Demand for a record of violations equiva­
               lent to the one earlier made would expose Congress to a
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               catch-22. If the statute was working, there would be less
               evidence of discrimination, so opponents might argue that
               Congress should not be allowed to renew the statute. In
               contrast, if the statute was not working, there would be
               plenty of evidence of discrimination, but scant reason to
               renew a failed regulatory regime. See Persily 193–194.
                 This is not to suggest that congressional power in this
               area is limitless. It is this Court’s responsibility to ensure
               that Congress has used appropriate means. The question
               meet for judicial review is whether the chosen means are
               “adapted to carry out the objects the amendments have in
               view.” Ex parte Virginia, 100 U. S. 339, 346 (1880). The
               Court’s role, then, is not to substitute its judgment for that
               of Congress, but to determine whether the legislative
               record sufficed to show that “Congress could rationally
               have determined that [its chosen] provisions were appro­
               priate methods.” City of Rome, 446 U. S., at 176–177.
                 In summary, the Constitution vests broad power in
               Congress to protect the right to vote, and in particular to
               combat racial discrimination in voting. This Court has
               repeatedly reaffirmed Congress’ prerogative to use any
               rational means in exercise of its power in this area. And
               both precedent and logic dictate that the rational-means
               test should be easier to satisfy, and the burden on the
               statute’s challenger should be higher, when what is at
               issue is the reauthorization of a remedy that the Court has
               previously affirmed, and that Congress found, from con­
               temporary evidence, to be working to advance the legisla­
               ture’s legitimate objective.
                                              III
                 The 2006 reauthorization of the Voting Rights Act fully
               satisfies the standard stated in McCulloch, 4 Wheat., at
               421: Congress may choose any means “appropriate” and
               “plainly adapted to” a legitimate constitutional end. As we
               shall see, it is implausible to suggest otherwise.
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                                               A
                  I begin with the evidence on which Congress based its
               decision to continue the preclearance remedy. The surest
               way to evaluate whether that remedy remains in order is
               to see if preclearance is still effectively preventing discrim­
               inatory changes to voting laws. See City of Rome, 446
               U. S., at 181 (identifying “information on the number and
               types of submissions made by covered jurisdictions and
               the number and nature of objections interposed by the
               Attorney General” as a primary basis for upholding the
               1975 reauthorization). On that score, the record before
               Congress was huge. In fact, Congress found there were
               more DOJ objections between 1982 and 2004 (626) than
               there were between 1965 and the 1982 reauthorization
               (490). 1 Voting Rights Act: Evidence of Continued Need,
               Hearing before the Subcommittee on the Constitution of
               the House Committee on the Judiciary, 109th Cong., 2d
               Sess., p. 172 (2006) (hereinafter Evidence of Continued
               Need).
                  All told, between 1982 and 2006, DOJ objections blocked
               over 700 voting changes based on a determination that the
               changes were discriminatory. H. R. Rep. No. 109–478, at
               21. Congress found that the majority of DOJ objections
               included findings of discriminatory intent, see 679 F. 3d,
               at 867, and that the changes blocked by preclearance were
               “calculated decisions to keep minority voters from fully
               participating in the political process.” H. R. Rep. 109–478,
               at 21. On top of that, over the same time period the DOJ
               and private plaintiffs succeeded in more than 100 actions
               to enforce the §5 preclearance requirements. 1 Evidence
               of Continued Need 186, 250.
                  In addition to blocking proposed voting changes through
               preclearance, DOJ may request more information from a
               jurisdiction proposing a change. In turn, the jurisdiction
               may modify or withdraw the proposed change. The num­
               ber of such modifications or withdrawals provides an
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               indication of how many discriminatory proposals are
               deterred without need for formal objection. Congress
               received evidence that more than 800 proposed changes
               were altered or withdrawn since the last reauthorization
               in 1982. H. R. Rep. No. 109–478, at 40–41.4 Congress also
               received empirical studies finding that DOJ’s requests for
               more information had a significant effect on the degree to
               which covered jurisdictions “compl[ied] with their obliga­
               tio[n]” to protect minority voting rights. 2 Evidence of
               Continued Need 2555.
                  Congress also received evidence that litigation under §2
               of the VRA was an inadequate substitute for preclearance
               in the covered jurisdictions. Litigation occurs only after
               the fact, when the illegal voting scheme has already been
               put in place and individuals have been elected pursuant to
               it, thereby gaining the advantages of incumbency. 1 Evi­
               dence of Continued Need 97. An illegal scheme might be
               in place for several election cycles before a §2 plaintiff can
               gather sufficient evidence to challenge it. 1 Voting Rights
               Act: Section 5 of the Act—History, Scope, and Purpose:
               Hearing before the Subcommittee on the Constitution of
               the House Committee on the Judiciary, 109th Cong., 1st
               Sess., p. 92 (2005) (hereinafter Section 5 Hearing). And
               litigation places a heavy financial burden on minority
               voters. See id., at 84. Congress also received evidence
               ——————
                 4 This number includes only changes actually proposed.       Congress
               also received evidence that many covered jurisdictions engaged in an
               “informal consultation process” with DOJ before formally submitting a
               proposal, so that the deterrent effect of preclearance was far broader
               than the formal submissions alone suggest. The Continuing Need for
               Section 5 Pre-Clearance: Hearing before the Senate Committee on the
               Judiciary, 109th Cong., 2d Sess., pp. 53–54 (2006). All agree that an
               unsupported assertion about “deterrence” would not be sufficient to
               justify keeping a remedy in place in perpetuity. See ante, at 17. But it
               was certainly reasonable for Congress to consider the testimony of
               witnesses who had worked with officials in covered jurisdictions and
               observed a real-world deterrent effect.
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               that preclearance lessened the litigation burden on cov­
               ered jurisdictions themselves, because the preclearance
               process is far less costly than defending against a §2 claim,
               and clearance by DOJ substantially reduces the likelihood
               that a §2 claim will be mounted. Reauthorizing the Voting
               Rights Act’s Temporary Provisions: Policy Perspectives
               and Views From the Field: Hearing before the Subcommit­
               tee on the Constitution, Civil Rights and Property Rights
               of the Senate Committee on the Judiciary, 109th Cong., 2d
               Sess., pp. 13, 120–121 (2006). See also Brief for States of
               New York, California, Mississippi, and North Carolina as
               Amici Curiae 8–9 (Section 5 “reduc[es] the likelihood that
               a jurisdiction will face costly and protracted Section 2
               litigation”).
                  The number of discriminatory changes blocked or de­
               terred by the preclearance requirement suggests that the
               state of voting rights in the covered jurisdictions would
               have been significantly different absent this remedy. Sur­
               veying the type of changes stopped by the preclearance
               procedure conveys a sense of the extent to which §5 con­
               tinues to protect minority voting rights. Set out below are
               characteristic examples of changes blocked in the years
               leading up to the 2006 reauthorization:
                   In 1995, Mississippi sought to reenact a dual voter
                    registration system, “which was initially enacted in
                    1892 to disenfranchise Black voters,” and for that
                    reason, was struck down by a federal court in 1987.
                    H. R. Rep. No. 109–478, at 39.
                   Following the 2000 census, the City of Albany,
                    Georgia, proposed a redistricting plan that DOJ
                    found to be “designed with the purpose to limit and
                    retrogress the increased black voting strength . . .
                    in the city as a whole.” Id., at 37 (internal quota­
                    tion marks omitted).
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                     In 2001, the mayor and all-white five-member
                      Board of Aldermen of Kilmichael, Mississippi,
                      abruptly canceled the town’s election after “an
                      unprecedented number” of African-American can­
                      didates announced they were running for office.
                      DOJ required an election, and the town elected its
                      first black mayor and three black aldermen. Id., at
                      36–37.
                     In 2006, this Court found that Texas’ attempt to re­
                      draw a congressional district to reduce the strength
                      of Latino voters bore “the mark of intentional dis­
                      crimination that could give rise to an equal protec­
                      tion violation,” and ordered the district redrawn in
                      compliance with the VRA. League of United Latin
                      American Citizens v. Perry, 548 U. S. 399, 440
                      (2006). In response, Texas sought to undermine
                      this Court’s order by curtailing early voting in the
                      district, but was blocked by an action to enforce the
                      §5 preclearance requirement. See Order in League
                      of United Latin American Citizens v. Texas, No.
                      06–cv–1046 (WD Tex.), Doc. 8.
                     In 2003, after African-Americans won a majority of
                      the seats on the school board for the first time in
                      history, Charleston County, South Carolina, pro­
                      posed an at-large voting mechanism for the board.
                      The proposal, made without consulting any of the
                      African-American members of the school board,
                      was found to be an “ ‘exact replica’ ” of an earlier
                      voting scheme that, a federal court had determined,
                      violated the VRA. 811 F. Supp. 2d 424, 483 (DDC
                      2011). See also S. Rep. No. 109–295, at 309. DOJ
                      invoked §5 to block the proposal.
                     In 1993, the City of Millen, Georgia, proposed to de­
                      lay the election in a majority-black district by two
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                       years, leaving that district without representation
                       on the city council while the neighboring majority­
                       white district would have three representatives. 1
                       Section 5 Hearing 744. DOJ blocked the proposal.
                       The county then sought to move a polling place
                       from a predominantly black neighborhood in the
                       city to an inaccessible location in a predominantly
                       white neighborhood outside city limits. Id., at 816.
                    In 2004, Waller County, Texas, threatened to prose­
                     cute two black students after they announced their
                     intention to run for office. The county then at­
                     tempted to reduce the availability of early voting in
                     that election at polling places near a historically
                     black university. 679 F. 3d, at 865–866.
                    In 1990, Dallas County, Alabama, whose county
                     seat is the City of Selma, sought to purge its voter
                     rolls of many black voters. DOJ rejected the purge
                     as discriminatory, noting that it would have disquali­
                     fied many citizens from voting “simply because
                     they failed to pick up or return a voter update
                     form, when there was no valid requirement that
                     they do so.” 1 Section 5 Hearing 356.
                 These examples, and scores more like them, fill the
               pages of the legislative record. The evidence was indeed
               sufficient to support Congress’ conclusion that “racial
               discrimination in voting in covered jurisdictions [re­
               mained] serious and pervasive.” 679 F. 3d, at 865.5
               ——————
                 5 For an illustration postdating the 2006 reauthorization, see South

               Carolina v. United States, 898 F. Supp. 2d 30 (DC 2012), which in­
               volved a South Carolina voter-identification law enacted in 2011.
               Concerned that the law would burden minority voters, DOJ brought a
               §5 enforcement action to block the law’s implementation. In the course
               of the litigation, South Carolina officials agreed to binding interpreta­
               tions that made it “far easier than some might have expected or feared”
               for South Carolina citizens to vote. Id., at 37. A three-judge panel
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                  Congress further received evidence indicating that
               formal requests of the kind set out above represented only
               the tip of the iceberg. There was what one commentator
               described as an “avalanche of case studies of voting rights
               violations in the covered jurisdictions,” ranging from
               “outright intimidation and violence against minority
               voters” to “more subtle forms of voting rights depriva­
               tions.” Persily 202 (footnote omitted). This evidence gave
               Congress ever more reason to conclude that the time had
               not yet come for relaxed vigilance against the scourge of
               race discrimination in voting.
                  True, conditions in the South have impressively im­
               proved since passage of the Voting Rights Act. Congress
               noted this improvement and found that the VRA was the
               driving force behind it. 2006 Reauthorization §2(b)(1).
               But Congress also found that voting discrimination had
               evolved into subtler second-generation barriers, and that
               eliminating preclearance would risk loss of the gains that
               had been made. §§2(b)(2), (9). Concerns of this order, the
               Court previously found, gave Congress adequate cause to
               reauthorize the VRA. City of Rome, 446 U. S., at 180–182
               (congressional reauthorization of the preclearance re­
               quirement was justified based on “the number and nature
               of objections interposed by the Attorney General” since
               the prior reauthorization; extension was “necessary to pre­
               serve the limited and fragile achievements of the Act and
               to promote further amelioration of voting discrimination”)
               (internal quotation marks omitted). Facing such evidence
               then, the Court expressly rejected the argument that
               disparities in voter turnout and number of elected officials
               ——————
               precleared the law after adopting both interpretations as an express
               “condition of preclearance.” Id., at 37–38. Two of the judges commented
               that the case demonstrated “the continuing utility of Section 5 of the
               Voting Rights Act in deterring problematic, and hence encouraging
               non-discriminatory, changes in state and local voting laws.” Id., at 54
               (opinion of Bates, J.).
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               were the only metrics capable of justifying reauthorization
               of the VRA. Ibid.
                                             B
                 I turn next to the evidence on which Congress based its
               decision to reauthorize the coverage formula in §4(b).
               Because Congress did not alter the coverage formula, the
               same jurisdictions previously subject to preclearance
               continue to be covered by this remedy. The evidence just
               described, of preclearance’s continuing efficacy in blocking
               constitutional violations in the covered jurisdictions, itself
               grounded Congress’ conclusion that the remedy should be
               retained for those jurisdictions.
                 There is no question, moreover, that the covered juris­
               dictions have a unique history of problems with racial
               discrimination in voting. Ante, at 12–13. Consideration of
               this long history, still in living memory, was altogether
               appropriate. The Court criticizes Congress for failing to
               recognize that “history did not end in 1965.” Ante, at 20.
               But the Court ignores that “what’s past is prologue.” W.
               Shakespeare, The Tempest, act 2, sc. 1. And “[t]hose who
               cannot remember the past are condemned to repeat it.” 1
               G. Santayana, The Life of Reason 284 (1905). Congress
               was especially mindful of the need to reinforce the gains
               already made and to prevent backsliding. 2006 Reauthor­
               ization §2(b)(9).
                 Of particular importance, even after 40 years and thou­
               sands of discriminatory changes blocked by preclearance,
               conditions in the covered jurisdictions demonstrated that
               the formula was still justified by “current needs.” North-
               west Austin, 557 U. S., at 203.
                 Congress learned of these conditions through a report,
               known as the Katz study, that looked at §2 suits between
               1982 and 2004. To Examine the Impact and Effectiveness
               of the Voting Rights Act: Hearing before the Subcommit­
               tee on the Constitution of the House Committee on the
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               Judiciary, 109th Cong., 1st Sess., pp. 964–1124 (2005)
               (hereinafter Impact and Effectiveness). Because the pri­
               vate right of action authorized by §2 of the VRA applies
               nationwide, a comparison of §2 lawsuits in covered and
               noncovered jurisdictions provides an appropriate yardstick
               for measuring differences between covered and noncovered
               jurisdictions. If differences in the risk of voting discrimi­
               nation between covered and noncovered jurisdictions had
               disappeared, one would expect that the rate of successful
               §2 lawsuits would be roughly the same in both areas.6 The
               study’s findings, however, indicated that racial discrimi­
               nation in voting remains “concentrated in the jurisdictions
               singled out for preclearance.” Northwest Austin, 557 U. S.,
               at 203.
                 Although covered jurisdictions account for less than 25
               percent of the country’s population, the Katz study re­
               vealed that they accounted for 56 percent of successful
               §2 litigation since 1982. Impact and Effectiveness 974.
               Controlling for population, there were nearly four times as
               many successful §2 cases in covered jurisdictions as there
               were in noncovered jurisdictions. 679 F. 3d, at 874. The
               Katz study further found that §2 lawsuits are more likely
               to succeed when they are filed in covered jurisdictions
               than in noncovered jurisdictions. Impact and Effective­
               ness 974. From these findings—ignored by the Court—
               Congress reasonably concluded that the coverage formula
               continues to identify the jurisdictions of greatest concern.
                 The evidence before Congress, furthermore, indicated
               that voting in the covered jurisdictions was more racially
               polarized than elsewhere in the country. H. R. Rep. No.
               109–478, at 34–35. While racially polarized voting alone
               ——————
                 6 Because preclearance occurs only in covered jurisdictions and can be

               expected to stop the most obviously objectionable measures, one would
               expect a lower rate of successful §2 lawsuits in those jurisdictions if
               the risk of voting discrimination there were the same as elsewhere in the
               country.
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               does not signal a constitutional violation, it is a factor that
               increases the vulnerability of racial minorities to dis­
               criminatory changes in voting law. The reason is twofold.
               First, racial polarization means that racial minorities are
               at risk of being systematically outvoted and having their
               interests underrepresented in legislatures. Second, “when
               political preferences fall along racial lines, the natural
               inclinations of incumbents and ruling parties to entrench
               themselves have predictable racial effects. Under circum­
               stances of severe racial polarization, efforts to gain politi­
               cal advantage translate into race-specific disadvantages.”
               Ansolabehere, Persily, & Stewart, Regional Differences
               in Racial Polarization in the 2012 Presidential Election:
               Implications for the Constitutionality of Section 5 of the
               Voting Rights Act, 126 Harv. L. Rev. Forum 205, 209
               (2013).
                 In other words, a governing political coalition has an
               incentive to prevent changes in the existing balance of
               voting power. When voting is racially polarized, efforts by
               the ruling party to pursue that incentive “will inevitably
               discriminate against a racial group.” Ibid. Just as build­
               ings in California have a greater need to be earthquake­
               proofed, places where there is greater racial polarization
               in voting have a greater need for prophylactic measures to
               prevent purposeful race discrimination. This point was
               understood by Congress and is well recognized in the
               academic literature. See 2006 Reauthorization §2(b)(3),
               120 Stat. 577 (“The continued evidence of racially polar­
               ized voting in each of the jurisdictions covered by the
               [preclearance requirement] demonstrates that racial and
               language minorities remain politically vulnerable”); H. R.
               Rep. No. 109–478, at 35; Davidson, The Recent Evolution
               of Voting Rights Law Affecting Racial and Language
               Minorities, in Quiet Revolution 21, 22.
                 The case for retaining a coverage formula that met
               needs on the ground was therefore solid. Congress might
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               have been charged with rigidity had it afforded covered
               jurisdictions no way out or ignored jurisdictions that
               needed superintendence. Congress, however, responded to
               this concern. Critical components of the congressional
               design are the statutory provisions allowing jurisdictions
               to “bail out” of preclearance, and for court-ordered “bail
               ins.” See Northwest Austin, 557 U. S., at 199. The VRA
               permits a jurisdiction to bail out by showing that it has
               complied with the Act for ten years, and has engaged in
               efforts to eliminate intimidation and harassment of vot­
               ers. 42 U. S. C. §1973b(a) (2006 ed. and Supp. V). It also
               authorizes a court to subject a noncovered jurisdiction to
               federal preclearance upon finding that violations of the
               Fourteenth and Fifteenth Amendments have occurred
               there. §1973a(c) (2006 ed.).
                  Congress was satisfied that the VRA’s bailout mecha­
               nism provided an effective means of adjusting the VRA’s
               coverage over time. H. R. Rep. No. 109–478, at 25 (the
               success of bailout “illustrates that: (1) covered status is
               neither permanent nor over-broad; and (2) covered status
               has been and continues to be within the control of the
               jurisdiction such that those jurisdictions that have a genu­
               inely clean record and want to terminate coverage have
               the ability to do so”). Nearly 200 jurisdictions have suc­
               cessfully bailed out of the preclearance requirement, and
               DOJ has consented to every bailout application filed by an
               eligible jurisdiction since the current bailout procedure
               became effective in 1984. Brief for Federal Respondent 54.
               The bail-in mechanism has also worked. Several jurisdic­
               tions have been subject to federal preclearance by court
               orders, including the States of New Mexico and Arkansas.
               App. to Brief for Federal Respondent 1a–3a.
                  This experience exposes the inaccuracy of the Court’s
               portrayal of the Act as static, unchanged since 1965.
               Congress designed the VRA to be a dynamic statute, capa­
               ble of adjusting to changing conditions. True, many cov­
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               ered jurisdictions have not been able to bail out due to
               recent acts of noncompliance with the VRA, but that truth
               reinforces the congressional judgment that these jurisdic­
               tions were rightfully subject to preclearance, and ought to
               remain under that regime.
                                            IV
                 Congress approached the 2006 reauthorization of the
               VRA with great care and seriousness. The same cannot be
               said of the Court’s opinion today. The Court makes no
               genuine attempt to engage with the massive legislative
               record that Congress assembled. Instead, it relies on
               increases in voter registration and turnout as if that were
               the whole story. See supra, at 18–19. Without even
               identifying a standard of review, the Court dismissively
               brushes off arguments based on “data from the record,” and
               declines to enter the “debat[e about] what [the] record
               shows.” Ante, at 20–21. One would expect more from an
               opinion striking at the heart of the Nation’s signal piece of
               civil-rights legislation.
                 I note the most disturbing lapses. First, by what right,
               given its usual restraint, does the Court even address
               Shelby County’s facial challenge to the VRA? Second, the
               Court veers away from controlling precedent regarding the
               “equal sovereignty” doctrine without even acknowledging
               that it is doing so. Third, hardly showing the respect
               ordinarily paid when Congress acts to implement the Civil
               War Amendments, and as just stressed, the Court does not
               even deign to grapple with the legislative record.
                                            A
                 Shelby County launched a purely facial challenge to the
               VRA’s 2006 reauthorization. “A facial challenge to a
               legislative Act,” the Court has other times said, “is, of
               course, the most difficult challenge to mount successfully,
               since the challenger must establish that no set of circum­
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               stances exists under which the Act would be valid.” United
               States v. Salerno, 481 U. S. 739, 745 (1987).
                  “[U]nder our constitutional system[,] courts are not
               roving commissions assigned to pass judgment on the
               validity of the Nation’s laws.” Broadrick v. Oklahoma, 413
               U. S. 601, 610–611 (1973). Instead, the “judicial Power” is
               limited to deciding particular “Cases” and “Controversies.”
               U. S. Const., Art. III, §2. “Embedded in the traditional
               rules governing constitutional adjudication is the principle
               that a person to whom a statute may constitutionally be
               applied will not be heard to challenge that statute on the
               ground that it may conceivably be applied unconstitution­
               ally to others, in other situations not before the Court.”
               Broadrick, 413 U. S., at 610. Yet the Court’s opinion in
               this case contains not a word explaining why Congress
               lacks the power to subject to preclearance the particular
               plaintiff that initiated this lawsuit—Shelby County, Ala­
               bama. The reason for the Court’s silence is apparent, for
               as applied to Shelby County, the VRA’s preclearance
               requirement is hardly contestable.
                  Alabama is home to Selma, site of the “Bloody Sunday”
               beatings of civil-rights demonstrators that served as the
               catalyst for the VRA’s enactment. Following those events,
               Martin Luther King, Jr., led a march from Selma to Mont­
               gomery, Alabama’s capital, where he called for passage of
               the VRA. If the Act passed, he foresaw, progress could be
               made even in Alabama, but there had to be a steadfast
               national commitment to see the task through to comple­
               tion. In King’s words, “the arc of the moral universe is
               long, but it bends toward justice.” G. May, Bending To­
               ward Justice: The Voting Rights Act and the Transfor­
               mation of American Democracy 144 (2013).
                  History has proved King right. Although circumstances
               in Alabama have changed, serious concerns remain.
               Between 1982 and 2005, Alabama had one of the highest
               rates of successful §2 suits, second only to its VRA-covered
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               neighbor Mississippi. 679 F. 3d, at 897 (Williams, J.,
               dissenting). In other words, even while subject to the
               restraining effect of §5, Alabama was found to have
               “deni[ed] or abridge[d]” voting rights “on account of race or
               color” more frequently than nearly all other States in the
               Union. 42 U. S. C. §1973(a). This fact prompted the
               dissenting judge below to concede that “a more narrowly
               tailored coverage formula” capturing Alabama and a
               handful of other jurisdictions with an established track
               record of racial discrimination in voting “might be defensi­
               ble.” 679 F. 3d, at 897 (opinion of Williams, J.). That is an
               understatement. Alabama’s sorry history of §2 violations
               alone provides sufficient justification for Congress’ deter­
               mination in 2006 that the State should remain subject to
               §5’s preclearance requirement.7
                 A few examples suffice to demonstrate that, at least in
               Alabama, the “current burdens” imposed by §5’s preclear­
               ance requirement are “justified by current needs.” North-
               west Austin, 557 U. S., at 203. In the interim between the
               VRA’s 1982 and 2006 reauthorizations, this Court twice
               confronted purposeful racial discrimination in Alabama.
               In Pleasant Grove v. United States, 479 U. S. 462 (1987),
               the Court held that Pleasant Grove—a city in Jefferson
               County, Shelby County’s neighbor—engaged in purposeful
               discrimination by annexing all-white areas while rejecting
               the annexation request of an adjacent black neighborhood.
               The city had “shown unambiguous opposition to racial
               ——————
                 7 This lawsuit was filed by Shelby County, a political subdivision of

               Alabama, rather than by the State itself. Nevertheless, it is appropri­
               ate to judge Shelby County’s constitutional challenge in light of in­
               stances of discrimination statewide because Shelby County is subject to
               §5’s preclearance requirement by virtue of Alabama’s designation as a
               covered jurisdiction under §4(b) of the VRA. See ante, at 7. In any
               event, Shelby County’s recent record of employing an at-large electoral
               system tainted by intentional racial discrimination is by itself sufficient
               to justify subjecting the county to §5’s preclearance mandate. See infra,
               at 26.
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               integration, both before and after the passage of the fed­
               eral civil rights laws,” and its strategic annexations
               appeared to be an attempt “to provide for the growth of
               a monolithic white voting block” for “the impermissible
               purpose of minimizing future black voting strength.” Id.,
               at 465, 471–472.
                 Two years before Pleasant Grove, the Court in Hunter v.
               Underwood, 471 U. S. 222 (1985), struck down a provision
               of the Alabama Constitution that prohibited individuals
               convicted of misdemeanor offenses “involving moral turpi­
               tude” from voting. Id., at 223 (internal quotation marks
               omitted). The provision violated the Fourteenth Amend­
               ment’s Equal Protection Clause, the Court unanimously
               concluded, because “its original enactment was motivated
               by a desire to discriminate against blacks on account of
               race[,] and the [provision] continues to this day to have
               that effect.” Id., at 233.
                 Pleasant Grove and Hunter were not anomalies. In
               1986, a Federal District Judge concluded that the at-large
               election systems in several Alabama counties violated §2.
               Dillard v. Crenshaw Cty., 640 F. Supp. 1347, 1354–1363
               (MD Ala. 1986). Summarizing its findings, the court
               stated that “[f ]rom the late 1800’s through the present,
               [Alabama] has consistently erected barriers to keep black
               persons from full and equal participation in the social,
               economic, and political life of the state.” Id., at 1360.
                 The Dillard litigation ultimately expanded to include
               183 cities, counties, and school boards employing discrim­
               inatory at-large election systems. Dillard v. Baldwin Cty.
               Bd. of Ed., 686 F. Supp. 1459, 1461 (MD Ala. 1988). One
               of those defendants was Shelby County, which eventually
               signed a consent decree to resolve the claims against it.
               See Dillard v. Crenshaw Cty., 748 F. Supp. 819 (MD Ala.
               1990).
                 Although the Dillard litigation resulted in overhauls of
               numerous electoral systems tainted by racial discrimina­
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               tion, concerns about backsliding persist. In 2008, for
               example, the city of Calera, located in Shelby County,
               requested preclearance of a redistricting plan that “would
               have eliminated the city’s sole majority-black district,
               which had been created pursuant to the consent decree in
               Dillard.” 811 F. Supp. 2d 424, 443 (DC 2011). Although
               DOJ objected to the plan, Calera forged ahead with elec­
               tions based on the unprecleared voting changes, resulting
               in the defeat of the incumbent African-American council­
               man who represented the former majority-black district.
               Ibid. The city’s defiance required DOJ to bring a §5 en­
               forcement action that ultimately yielded appropriate
               redress, including restoration of the majority-black dis­
               trict. Ibid.; Brief for Respondent-Intervenors Earl Cun­
               ningham et al. 20.
                   A recent FBI investigation provides a further window
               into the persistence of racial discrimination in state poli­
               tics. See United States v. McGregor, 824 F. Supp. 2d 1339,
               1344–1348 (MD Ala. 2011). Recording devices worn by
               state legislators cooperating with the FBI’s investigation
               captured conversations between members of the state
               legislature and their political allies. The recorded conver­
               sations are shocking. Members of the state Senate deri­
               sively refer to African-Americans as “Aborigines” and talk
               openly of their aim to quash a particular gambling-related
               referendum because the referendum, if placed on the
               ballot, might increase African-American voter turnout.
               Id., at 1345–1346 (internal quotation marks omitted). See
               also id., at 1345 (legislators and their allies expressed
               concern that if the referendum were placed on the ballot,
               “ ‘[e]very black, every illiterate’ would be ‘bused [to the
               polls] on HUD financed buses’ ”). These conversations oc­
               curred not in the 1870’s, or even in the 1960’s, they took
               place in 2010. Id., at 1344–1345. The District Judge
               presiding over the criminal trial at which the recorded
               conversations were introduced commented that the “re­
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               cordings represent compelling evidence that political
               exclusion through racism remains a real and enduring
               problem” in Alabama. Id., at 1347. Racist sentiments, the
               judge observed, “remain regrettably entrenched in the
               high echelons of state government.” Ibid.
                 These recent episodes forcefully demonstrate that §5’s
               preclearance requirement is constitutional as applied to
               Alabama and its political subdivisions.8 And under our
               case law, that conclusion should suffice to resolve this
               case. See United States v. Raines, 362 U. S. 17, 24–25
               (1960) (“[I]f the complaint here called for an application of
               the statute clearly constitutional under the Fifteenth
               Amendment, that should have been an end to the question
               of constitutionality.”). See also Nevada Dept. of Human
               Resources v. Hibbs, 538 U. S. 721, 743 (2003) (SCALIA, J.,
               dissenting) (where, as here, a state or local government
               raises a facial challenge to a federal statute on the ground
               that it exceeds Congress’ enforcement powers under the
               Civil War Amendments, the challenge fails if the opposing
               party is able to show that the statute “could constitution­
               ally be applied to some jurisdictions”).
                 This Court has consistently rejected constitutional
               challenges to legislation enacted pursuant to Congress’
               enforcement powers under the Civil War Amendments
               upon finding that the legislation was constitutional as
               applied to the particular set of circumstances before the
               Court. See United States v. Georgia, 546 U. S. 151, 159
               (2006) (Title II of the Americans with Disabilities Act of
               1990 (ADA) validly abrogates state sovereign immunity
               “insofar as [it] creates a private cause of action . . . for
               conduct that actually violates the Fourteenth Amend­

               ——————
                 8 Congress  continued preclearance over Alabama, including Shelby
               County, after considering evidence of current barriers there to minority
               voting clout. Shelby County, thus, is no “redhead” caught up in an
               arbitrary scheme. See ante, at 22.
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               ment”); Tennessee v. Lane, 541 U. S. 509, 530–534 (2004)
               (Title II of the ADA is constitutional “as it applies to the
               class of cases implicating the fundamental right of access
               to the courts”); Raines, 362 U. S., at 24–26 (federal statute
               proscribing deprivations of the right to vote based on race
               was constitutional as applied to the state officials before
               the Court, even if it could not constitutionally be applied
               to other parties). A similar approach is warranted here.9
                 The VRA’s exceptionally broad severability provision
               makes it particularly inappropriate for the Court to allow
               Shelby County to mount a facial challenge to §§4(b) and 5
               of the VRA, even though application of those provisions to
               the county falls well within the bounds of Congress’ legis­
               lative authority. The severability provision states:
                    “If any provision of [this Act] or the application
                    thereof to any person or circumstances is held invalid,
                    the remainder of [the Act] and the application of the
                    provision to other persons not similarly situated or
                    to other circumstances shall not be affected thereby.”
                    42 U. S. C. §1973p.
               In other words, even if the VRA could not constitutionally
               be applied to certain States—e.g., Arizona and Alaska, see
               ante, at 8—§1973p calls for those unconstitutional applica­
               tions to be severed, leaving the Act in place for juris­
               dictions as to which its application does not transgress
               constitutional limits.
               ——————
                  9 The Court does not contest that Alabama’s history of racial discrim­

               ination provides a sufficient basis for Congress to require Alabama and
               its political subdivisions to preclear electoral changes. Nevertheless,
               the Court asserts that Shelby County may prevail on its facial chal­
               lenge to §4’s coverage formula because it is subject to §5’s preclearance
               requirement by virtue of that formula. See ante, at 22 (“The county
               was selected [for preclearance] based on th[e] [coverage] formula.”).
               This misses the reality that Congress decided to subject Alabama to
               preclearance based on evidence of continuing constitutional violations
               in that State. See supra, at 28, n. 8.
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                  Nevertheless, the Court suggests that limiting the
               jurisdictional scope of the VRA in an appropriate case
               would be “to try our hand at updating the statute.” Ante,
               at 22. Just last Term, however, the Court rejected this
               very argument when addressing a materially identical
               severability provision, explaining that such a provision is
               “Congress’ explicit textual instruction to leave unaffected
               the remainder of [the Act]” if any particular “application is
               unconstitutional.” National Federation of Independent
               Business v. Sebelius, 567 U. S. __, __ (2012) (plurality
               opinion) (slip op., at 56) (internal quotation marks omit­
               ted); id., at __ (GINSBURG, J., concurring in part, concur­
               ring in judgment in part, and dissenting in part) (slip op.,
               at 60) (agreeing with the plurality’s severability analysis).
               See also Raines, 362 U. S., at 23 (a statute capable of some
               constitutional applications may nonetheless be susceptible
               to a facial challenge only in “that rarest of cases where
               this Court can justifiably think itself able confidently to
               discern that Congress would not have desired its legisla­
               tion to stand at all unless it could validly stand in its every
               application”). Leaping to resolve Shelby County’s facial
               challenge without considering whether application of the
               VRA to Shelby County is constitutional, or even address­
               ing the VRA’s severability provision, the Court’s opinion
               can hardly be described as an exemplar of restrained and
               moderate decisionmaking. Quite the opposite. Hubris is a
               fit word for today’s demolition of the VRA.
                                             B
                 The Court stops any application of §5 by holding that
               §4(b)’s coverage formula is unconstitutional. It pins this
               result, in large measure, to “the fundamental principle of
               equal sovereignty.” Ante, at 10–11, 23. In Katzenbach,
               however, the Court held, in no uncertain terms, that the
               principle “applies only to the terms upon which States are
               admitted to the Union, and not to the remedies for local
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               evils which have subsequently appeared.” 383 U. S., at
               328–329 (emphasis added).
                  Katzenbach, the Court acknowledges, “rejected the
               notion that the [equal sovereignty] principle operate[s] as
               a bar on differential treatment outside [the] context [of the
               admission of new States].” Ante, at 11 (citing 383 U. S., at
               328–329) (emphasis omitted). But the Court clouds that
               once clear understanding by citing dictum from Northwest
               Austin to convey that the principle of equal sovereignty
               “remains highly pertinent in assessing subsequent dispar­
               ate treatment of States.” Ante, at 11 (citing 557 U. S., at
               203). See also ante, at 23 (relying on Northwest Austin’s
               “emphasis on [the] significance” of the equal-sovereignty
               principle). If the Court is suggesting that dictum in
               Northwest Austin silently overruled Katzenbach’s limita­
               tion of the equal sovereignty doctrine to “the admission of
               new States,” the suggestion is untenable. Northwest
               Austin cited Katzenbach’s holding in the course of declin-
               ing to decide whether the VRA was constitutional or even
               what standard of review applied to the question. 557
               U. S., at 203–204. In today’s decision, the Court ratchets
               up what was pure dictum in Northwest Austin, attributing
               breadth to the equal sovereignty principle in flat contra­
               diction of Katzenbach. The Court does so with nary an
               explanation of why it finds Katzenbach wrong, let alone
               any discussion of whether stare decisis nonetheless coun­
               sels adherence to Katzenbach’s ruling on the limited “sig­
               nificance” of the equal sovereignty principle.
                  Today’s unprecedented extension of the equal sover­
               eignty principle outside its proper domain—the admission
               of new States—is capable of much mischief. Federal statutes
               that treat States disparately are hardly novelties. See,
               e.g., 28 U. S. C. §3704 (no State may operate or permit a
               sports-related gambling scheme, unless that State con­
               ducted such a scheme “at any time during the period
               beginning January 1, 1976, and ending August 31, 1990”);
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               26 U. S. C. §142(l) (EPA required to locate green building
               project in a State meeting specified population criteria); 42
               U. S. C. §3796bb (at least 50 percent of rural drug en­
               forcement assistance funding must be allocated to States
               with “a population density of fifty-two or fewer persons per
               square mile or a State in which the largest county has
               fewer than one hundred and fifty thousand people, based
               on the decennial census of 1990 through fiscal year 1997”);
               §§13925, 13971 (similar population criteria for funding to
               combat rural domestic violence); §10136 (specifying rules
               applicable to Nevada’s Yucca Mountain nuclear waste site,
               and providing that “[n]o State, other than the State of
               Nevada, may receive financial assistance under this sub­
               section after December 22, 1987”). Do such provisions
               remain safe given the Court’s expansion of equal sover­
               eignty’s sway?
                  Of gravest concern, Congress relied on our pathmarking
               Katzenbach decision in each reauthorization of the VRA.
               It had every reason to believe that the Act’s limited geo­
               graphical scope would weigh in favor of, not against, the
               Act’s constitutionality. See, e.g., United States v. Morri-
               son, 529 U. S. 598, 626–627 (2000) (confining preclearance
               regime to States with a record of discrimination bolstered
               the VRA’s constitutionality). Congress could hardly have
               foreseen that the VRA’s limited geographic reach would
               render the Act constitutionally suspect. See Persily 195
               (“[S]upporters of the Act sought to develop an evidentiary
               record for the principal purpose of explaining why the
               covered jurisdictions should remain covered, rather than
               justifying the coverage of certain jurisdictions but not
               others.”).
                  In the Court’s conception, it appears, defenders of the
               VRA could not prevail upon showing what the record
               overwhelmingly bears out, i.e., that there is a need for
               continuing the preclearance regime in covered States. In
               addition, the defenders would have to disprove the exist­
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               ence of a comparable need elsewhere. See Tr. of Oral Arg.
               61–62 (suggesting that proof of egregious episodes of racial
               discrimination in covered jurisdictions would not suffice to
               carry the day for the VRA, unless such episodes are shown
               to be absent elsewhere). I am aware of no precedent for
               imposing such a double burden on defenders of legislation.
                                             C
                  The Court has time and again declined to upset legisla­
               tion of this genre unless there was no or almost no evi­
               dence of unconstitutional action by States. See, e.g., City
               of Boerne v. Flores, 521 U. S. 507, 530 (1997) (legislative
               record “mention[ed] no episodes [of the kind the legislation
               aimed to check] occurring in the past 40 years”). No such
               claim can be made about the congressional record for the
               2006 VRA reauthorization. Given a record replete with
               examples of denial or abridgment of a paramount federal
               right, the Court should have left the matter where it
               belongs: in Congress’ bailiwick.
                  Instead, the Court strikes §4(b)’s coverage provision
               because, in its view, the provision is not based on “current
               conditions.” Ante, at 17. It discounts, however, that one
               such condition was the preclearance remedy in place in
               the covered jurisdictions, a remedy Congress designed
               both to catch discrimination before it causes harm, and to
               guard against return to old ways. 2006 Reauthorization
               §2(b)(3), (9). Volumes of evidence supported Congress’ de­
               termination that the prospect of retrogression was real.
               Throwing out preclearance when it has worked and is
               continuing to work to stop discriminatory changes is like
               throwing away your umbrella in a rainstorm because you
               are not getting wet.
                  But, the Court insists, the coverage formula is no good;
               it is based on “decades-old data and eradicated practices.”
               Ante, at 18. Even if the legislative record shows, as engag­
               ing with it would reveal, that the formula accurately
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               identifies the jurisdictions with the worst conditions of
               voting discrimination, that is of no moment, as the Court
               sees it. Congress, the Court decrees, must “star[t] from
               scratch.” Ante, at 23. I do not see why that should be so.
                  Congress’ chore was different in 1965 than it was in
               2006. In 1965, there were a “small number of States . . .
               which in most instances were familiar to Congress by
               name,” on which Congress fixed its attention. Katzenbach,
               383 U. S., at 328. In drafting the coverage formula, “Con­
               gress began work with reliable evidence of actual voting
               discrimination in a great majority of the States” it sought
               to target. Id., at 329. “The formula [Congress] eventually
               evolved to describe these areas” also captured a few States
               that had not been the subject of congressional factfinding.
               Ibid. Nevertheless, the Court upheld the formula in its
               entirety, finding it fair “to infer a significant danger of the
               evil” in all places the formula covered. Ibid.
                  The situation Congress faced in 2006, when it took up
               reauthorization of the coverage formula, was not the same.
               By then, the formula had been in effect for many years,
               and all of the jurisdictions covered by it were “familiar
               to Congress by name.” Id., at 328. The question before
               Congress: Was there still a sufficient basis to support
               continued application of the preclearance remedy in each
               of those already-identified places? There was at that point
               no chance that the formula might inadvertently sweep in
               new areas that were not the subject of congressional
               findings. And Congress could determine from the record
               whether the jurisdictions captured by the coverage for­
               mula still belonged under the preclearance regime. If they
               did, there was no need to alter the formula. That is why
               the Court, in addressing prior reauthorizations of the
               VRA, did not question the continuing “relevance” of the
               formula.
                  Consider once again the components of the record before
               Congress in 2006. The coverage provision identified a
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               known list of places with an undisputed history of serious
               problems with racial discrimination in voting. Recent
               evidence relating to Alabama and its counties was there
               for all to see. Multiple Supreme Court decisions had
               upheld the coverage provision, most recently in 1999.
               There was extensive evidence that, due to the preclear­
               ance mechanism, conditions in the covered jurisdictions
               had notably improved. And there was evidence that pre­
               clearance was still having a substantial real-world effect,
               having stopped hundreds of discriminatory voting changes
               in the covered jurisdictions since the last reauthorization.
               In addition, there was evidence that racial polarization in
               voting was higher in covered jurisdictions than elsewhere,
               increasing the vulnerability of minority citizens in those
               jurisdictions. And countless witnesses, reports, and case
               studies documented continuing problems with voting dis­
               crimination in those jurisdictions. In light of this rec­
               ord, Congress had more than a reasonable basis to
               conclude that the existing coverage formula was not out of
               sync with conditions on the ground in covered areas. And
               certainly Shelby County was no candidate for release
               through the mechanism Congress provided. See supra, at
               22–23, 26–28.
                  The Court holds §4(b) invalid on the ground that it is
               “irrational to base coverage on the use of voting tests 40
               years ago, when such tests have been illegal since that
               time.” Ante, at 23. But the Court disregards what Con­
               gress set about to do in enacting the VRA. That extraor­
               dinary legislation scarcely stopped at the particular tests
               and devices that happened to exist in 1965. The grand
               aim of the Act is to secure to all in our polity equal citizen­
               ship stature, a voice in our democracy undiluted by race.
               As the record for the 2006 reauthorization makes abun­
               dantly clear, second-generation barriers to minority voting
               rights have emerged in the covered jurisdictions as at­
               tempted substitutes for the first-generation barriers that
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               originally triggered preclearance in those jurisdictions.
               See supra, at 5–6, 8, 15–17.
                  The sad irony of today’s decision lies in its utter failure
               to grasp why the VRA has proven effective. The Court
               appears to believe that the VRA’s success in eliminating
               the specific devices extant in 1965 means that preclear­
               ance is no longer needed. Ante, at 21–22, 23–24. With
               that belief, and the argument derived from it, history
               repeats itself. The same assumption—that the problem
               could be solved when particular methods of voting discrim­
               ination are identified and eliminated—was indulged and
               proved wrong repeatedly prior to the VRA’s enactment.
               Unlike prior statutes, which singled out particular tests or
               devices, the VRA is grounded in Congress’ recognition of
               the “variety and persistence” of measures designed to
               impair minority voting rights. Katzenbach, 383 U. S., at
               311; supra, at 2. In truth, the evolution of voting discrim­
               ination into more subtle second-generation barriers is
               powerful evidence that a remedy as effective as preclear­
               ance remains vital to protect minority voting rights and
               prevent backsliding.
                  Beyond question, the VRA is no ordinary legislation. It
               is extraordinary because Congress embarked on a mission
               long delayed and of extraordinary importance: to realize
               the purpose and promise of the Fifteenth Amendment.
               For a half century, a concerted effort has been made to
               end racial discrimination in voting. Thanks to the Voting
               Rights Act, progress once the subject of a dream has been
               achieved and continues to be made.
                  The record supporting the 2006 reauthorization of
               the VRA is also extraordinary. It was described by the
               Chairman of the House Judiciary Committee as “one of
               the most extensive considerations of any piece of legisla­
               tion that the United States Congress has dealt with in the
               27½ years” he had served in the House. 152 Cong. Rec.
               H5143 (July 13, 2006) (statement of Rep. Sensenbrenner).
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               After exhaustive evidence-gathering and deliberative
               process, Congress reauthorized the VRA, including the
               coverage provision, with overwhelming bipartisan support.
               It was the judgment of Congress that “40 years has not
               been a sufficient amount of time to eliminate the vestiges
               of discrimination following nearly 100 years of disregard
               for the dictates of the 15th amendment and to ensure that
               the right of all citizens to vote is protected as guaranteed
               by the Constitution.” 2006 Reauthorization §2(b)(7), 120
               Stat. 577. That determination of the body empowered to
               enforce the Civil War Amendments “by appropriate legis­
               lation” merits this Court’s utmost respect. In my judg­
               ment, the Court errs egregiously by overriding Congress’
               decision.
                                     *     *    *
                 For the reasons stated, I would affirm the judgment of
               the Court of Appeals.
